                                                                                                                        Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 1 of 63 Page ID #:1




                                                                                                                1     JACOBSON, RUSSELL, SALTZ, NASSIM & DE LA TORRE, LLP
                                                                                                                      Michael J. Saltz, Esq. SBN 189751
                                                                                                                2     msaltz@jrsnd.com
                                                                                                                3     Elana R. Levine, Esq. SBN 234155
                                                                                                                      lani@jrsnd.com
                                                                                                                4
                                                                                                                      1880 Century Park East, Suite 900
                                                                                                                5     Los Angeles, CA 90067
                                                                                                                6
                                                                                                                      Telephone: (310) 446-9900
                                                                                                                      Facsimile: (310) 446-9909
                                                                                                                7
                                                                                                                8     Attorneys for Plaintiffs
                                                                                                                9
                                                                                                                                                 UNITED STATES DISTRICT COURT
                                                                                                                10
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP




                                                                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12    DEBBY DAY; DE ANN YOUNG;                   Case No.: 8:21-cv-1286
                                                                                                                13    JASON GLUCKMAN; JANE DOES 1-
                                                                                                                      24,                                        COMPLAINT FOR:
                                                                                                                14
                                                                                                                                                                 1. Breach of Contract
                                                                                                                15                        Plaintiffs,            2. Slander
                                                                                                                16            v.                                 3. Libel
                                                                                                                                                                 4. False Light
                                                                                                                17    CALIFORNIA LUTHERAN                        5. Intentional Infliction of Emotional
                                                                                                                18    UNIVERSITY; CHRIS KIMBALL;                     Distress
                                                                                                                      MELISSA MAXWELL-DOHERTY;                   6. Negligent Infliction of Emotional
                                                                                                                19
                                                                                                                      JIM MCHUGH; and ROES 1 through                 Distress
                                                                                                                20    200, inclusive,                            7. Negligence
                                                                                                                21                                               8. Violation of Title IX
                                                                                                                                                                 9. Retaliation
                                                                                                                22                            Defendants.        10. Hostile Work Environment
                                                                                                                23                                               11. Constructive Termination
                                                                                                                                                                 12. Violation of Labor Code §2699
                                                                                                                24
                                                                                                                                                                 13. Violation of Business and
                                                                                                                25                                                   Professions Code § 17200
                                                                                                                26
                                                                                                                                                                 DEMAND FOR JURY TRIAL
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      1
                                                                                                                                                            COMPLAINT
                                                                                                                           Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 2 of 63 Page ID #:2




                                                                                                                1     COMES NOW Plaintiffs Debby Day, De Ann Young, Jason Gluckman, and JANE
                                                                                                                2     DOES 1-24 who allege as follows:
                                                                                                                3                                 INTRODUCTORY STATEMENT
                                                                                                                4     1.      What does a university do when its accreditation has been threatened due to its
                                                                                                                5 longstanding record of fostering racial and gender inequality? It deflects and distracts by:
                                                                                                                6 a) manufacturing a sham racially-derogatory event; b) publicly blaming that sham event
                                                                                                                7 on a visible group of people that it believes are powerless to defend themselves; and c)
                                                                                                                8 making a showing of punishing that powerless group to deceive the public into believing
                                                                                                                9 that the university is active in combatting racism on campus.
                                                                                                                10    2.      Defendant California Lutheran University (“CLU”) is an accredited undergraduate
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11    and graduate institution of higher learning located in Thousand Oaks, California. CLU
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12    receives its accreditation from the Western Association of Schools and Colleges
                                                                                                                13    (“WASC”). In January 2020, CLU was under investigation by the WASC’s Senior
                                                                                                                14    College and University Commission (“WSCUC”) in part for its history of racial and
                                                                                                                15    gender equality-related failures.
                                                                                                                16    3.      CLU’s operations at this time were being run in relevant part by its then-President,
                                                                                                                17    Chris Kimball (“Kimball”), and its Vice President of Mission and Identity, Pastor
                                                                                                                18    Melissa Maxwell-Doherty (“Doherty”).
                                                                                                                19    4.      CLU has an NCAA Division III Women’s Softball Team (“Softball Team”).
                                                                                                                20    During the same time the WASC was investigating CLU, the Softball Team held a team-
                                                                                                                21    bonding lip-sync event with makeup and costumes. Five members of the team wore facial
                                                                                                                22    hair makeup to disguise themselves as males. Three of these young women wore hats,
                                                                                                                23    and two wore Caucasian male wigs (i.e., Napoleon Dynamite costume wigs). Pictures of
                                                                                                                24    these members of the Softball Team at said event were subsequently posted to social
                                                                                                                25    media.
                                                                                                                26    5.      Defendants Kimball and Doherty viewed said pictures and confirmed with the
                                                                                                                27    Softball Team, their coaches, and their parents that said Softball Team members: a) were
                                                                                                                28    under the supervision of an African-American Softball coach; b) had makeup on their

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                         2
                                                                                                                                                               COMPLAINT
                                                                                                                           Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 3 of 63 Page ID #:3




                                                                                                                1     faces to resemble men’s facial hair in the form of beard stubble and goatees; and c) were
                                                                                                                2     not engaged in any racially motivated activities. Despite such confirmation, Defendant
                                                                                                                3     Kimball and Doherty publicly proclaimed to the community and national press that: a)
                                                                                                                4     said conduct constituted “Blackface”; b) Plaintiffs participated in and/or allowed
                                                                                                                5     “comedic performances of ‘blackness’ by whites in exaggerated costumes and makeup”;
                                                                                                                6     c) CLU intended to “call attention” to the event; and d) “[t]hose who are responsible will
                                                                                                                7     be held accountable.”
                                                                                                                8     6.      To make matters worse, Defendant CLU in general, and Defendants Kimball and
                                                                                                                9     Doherty in particular, allowed the Softball Team and their Coaches to be publicly
                                                                                                                10    shamed and harassed, placed in fear for their safety, and to otherwise suffer lifelong
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11    injury to their mental health and reputations. At one point, one of the leaders of the
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12    Softball Team expressly informed Defendants in writing that the young women on the
                                                                                                                13    Softball Team were in desperate need of help by mental health professionals as a result
                                                                                                                14    of the events put in motion by Defendants. The response by CLU in general, and
                                                                                                                15    Defendants Doherty and Kimball in particular, was deafening silence.
                                                                                                                16    7.      It is now time for CLU to be held accountable for their gender inequality, for the
                                                                                                                17    damage they have unnecessarily caused to be inflicted on the 24 members of the Softball
                                                                                                                18    Team (19 of which did not take part in the performance at issue), and for the hostile work
                                                                                                                19    environment and constructive firing it inflicted upon the Softball Team’s coaching staff.
                                                                                                                20                                         THE PARTIES
                                                                                                                21    8.      Plaintiff Debby Day (“Coach Day”) is, and at all relevant times was, an individual
                                                                                                                22    employed in Ventura County, State of California, and was the head coach of the Softball
                                                                                                                23    Team.
                                                                                                                24    9.      Plaintiff De Ann Young (“Coach Young”) is, and at all relevant times was, an
                                                                                                                25    individual employed in Ventura County, State of California, and was one of the assistant
                                                                                                                26    coaches of the Softball Team.
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        3
                                                                                                                                                              COMPLAINT
                                                                                                                        Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 4 of 63 Page ID #:4




                                                                                                                1     10. Plaintiff Jason Gluckman (“Coach Gluckman”) is, and at all relevant times was, an
                                                                                                                2     individual employed in Ventura County, State of California, and was one of the assistant
                                                                                                                3     coaches of the Softball Team.
                                                                                                                4     11. Plaintiff JANE DOES 1 through 5 (“DOES 1-5”) at all relevant times were students
                                                                                                                5     at California Lutheran University, in Ventura County, State of California, and members
                                                                                                                6     of the Softball Team. DOES 1-5 took part in the lip-sync performance at issue in this
                                                                                                                7     case.
                                                                                                                8     12. Plaintiff JANE DOES 6 through 24 (“DOES 6-24”) at all relevant times were
                                                                                                                9     students at California Lutheran University, in Ventura County, State of California, and
                                                                                                                10    members of the Softball Team. DOES 6-24 did not take part in the lip-sync performance
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11    at issue in this case.
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12    13. Plaintiffs JANE DOES 1-24 are filing this complaint under pseudonyms because
                                                                                                                13    this case is one of a sensitive nature, and Courts have recognized and allowed such cases
                                                                                                                14    to be brought through the use of pseudonyms under such circumstances. See, e.g., M.G.
                                                                                                                15    v. R.D., No. B159974, 2003 WL 21129878, at *3 (Cal. Ct. App. May 16, 2003).
                                                                                                                16    14. Plaintiffs are informed and believe that, at all relevant times, Defendant CLU is
                                                                                                                17    and was an undergraduate and graduate institution of higher learning located at 60 West
                                                                                                                18    Olsen Road, Thousand Oaks, California 91360, Ventura County, State of California.
                                                                                                                19    15. Plaintiffs are informed and believe that, at all relevant times, Defendant Chris
                                                                                                                20    Kimball (“Kimball”) was the President and Chief Executive Officer of CLU.
                                                                                                                21    16. Plaintiffs are informed and believe that, at all relevant times, Defendant Pastor
                                                                                                                22    Melissa Maxwell-Doherty (“Doherty”) was a Campus Pastor, as well as the Vice
                                                                                                                23    President for Mission and Identity.
                                                                                                                24    17. Plaintiffs are informed and believe that, at all relevant times, Defendant Jim
                                                                                                                25    McHugh (“McHugh”) was the Associate Vice President of CLU.
                                                                                                                26    18. Plaintiffs are informed and believe that Defendant CLU receives federal financial
                                                                                                                27    assistance and is therefore subject to the dictates of 20 U.S.C. § 1681 (“Title IX”).
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       4
                                                                                                                                                             COMPLAINT
                                                                                                                        Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 5 of 63 Page ID #:5




                                                                                                                1     19. The true names and capacities, whether individual, corporate, associate, or
                                                                                                                2     otherwise, of Defendants ROES 1-200, inclusive, are unknown to Plaintiffs, who
                                                                                                                3     therefore sue said Defendants by such fictitious names. Plaintiffs allege on information
                                                                                                                4     and belief that each of the Defendants designated herein as a fictitiously named
                                                                                                                5     Defendant are, in some manner, responsible for the events and happenings referred to,
                                                                                                                6     either contractually or tortuously, and/or that such fictitiously named Defendants are
                                                                                                                7     liable in some manner for the obligations described herein below. When Plaintiffs
                                                                                                                8     ascertain the true names and capacities of ROES 1-200, Plaintiffs will amend this
                                                                                                                9     Complaint accordingly.
                                                                                                                10    20. Plaintiffs are informed and believe that at all relevant times mentioned herein,
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11    Defendants, including those fictitiously named as ROES 1 through 200, in doing the
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12    things alleged in this Complaint, acted in concert and conspired with or aided and abetted
                                                                                                                13    each other to do the acts complained of in this complaint, and that each Defendant acted,
                                                                                                                14    at all times, as the agent, partner, co-conspirator, co-venturer, joint venturer,
                                                                                                                15    representative or employee of the remaining Defendants and were acting within the scope
                                                                                                                16    and purpose of that agency, partnership, joint venture or employment, such that the acts
                                                                                                                17    and conduct of each Defendant, including those named herein as ROES, was known to,
                                                                                                                18    authorized by and ratified by the other Defendants. Plaintiffs are further informed and
                                                                                                                19    believe that each of the Defendants named herein engaged in wrongful conduct that is a
                                                                                                                20    cause of Plaintiffs’ damages, and are responsible in some manner for the damages
                                                                                                                21    sustained by Plaintiffs.
                                                                                                                22                                       JURISDICTION
                                                                                                                23    21. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
                                                                                                                24    1331.
                                                                                                                25    22. The damages, which are the subject of this lawsuit, occurred within the County of
                                                                                                                26    Ventura, State of California.
                                                                                                                27    23. Defendants targeted Plaintiffs, who, at all relevant times, were students and/or
                                                                                                                28    employees of CLU in the County of Ventura, State of California.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       5
                                                                                                                                                             COMPLAINT
                                                                                                                           Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 6 of 63 Page ID #:6




                                                                                                                1        24. Defendants’ behavior and wrongful conduct substantially occurred in the County
                                                                                                                2        of Ventura, within the jurisdiction of the United States District Court for the Central
                                                                                                                3        District of California.
                                                                                                                4        25. Venue in this Court is proper under 28 U.S.C. § 1391 (b) because the events giving
                                                                                                                5        rise to this claim took place in this judicial district, and Defendants reside in this judicial
                                                                                                                6        district.
                                                                                                                7                                  GENERAL FACTUAL ALLEGATIONS
                                                                                                                8          A. GENERAL BACKGROUND
                                                                                                                9        26. CLU is a private university in the affluent Los Angeles-area suburb of Thousand
                                                                                                                10       Oaks, California, and has a robust NCAA Division III sports program.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11       27. CLU is accredited by the WASC’s WSCUC for federal funding in a number of
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12       programs, including student access to federal financial aid.
                                                                                                                13       28. Plaintiffs are informed and believe that many of CLU’s students, including, but not
                                                                                                                14       limited to DOES 1-24, receive federal financial aid.
                                                                                                                15         B. CLU’S POOR HISTORY WITH REGARD TO RACIST EVENTS
                                                                                                                16       29.    Plaintiffs are informed and believe that CLU and its agents have a history of
                                                                                                                17       indifference to racial issues on campus, and otherwise have a documented history of
                                                                                                                18       racial and gender inequality.
                                                                                                                19       30.    Plaintiffs are informed and believe that in a February 11, 2020 article published by
                                                                                                                20       the CLU newspaper, The Echo, Defendant Kimball acknowledged that racism on campus
                                                                                                                21       is “a long-standing issue.”1 The article memorializes that students on campus have
                                                                                                                22       witnessed racism and racial events to which the CLU administration is perceived to have
                                                                                                                23       responded in an unsatisfactory manner.
                                                                                                                24       31.    Plaintiffs are informed and believe that, by way of example, The Echo quotes
                                                                                                                25       witnesses to prior racial events on campus such as observing students standing up on
                                                                                                                26       tables and using the N-word. Id.
                                                                                                                27
                                                                                                                28
                                                                                                                     1
                                                                                                                         https://cluecho.com/13000/news/racial-climate-a-long-standing-issue/

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                            6
                                                                                                                                                                  COMPLAINT
                                                                                                                           Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 7 of 63 Page ID #:7




                                                                                                                1        32.   Plaintiffs are informed and believe, that, in another incident in February 2019, a
                                                                                                                2        professor at CLU had his office vandalized. He also received notes and emails that were
                                                                                                                3        hate-fueled and racist.2 Plaintiffs are further informed and believe that the CLU
                                                                                                                4        administration conducted an investigation into the matter that concluded on or about
                                                                                                                5        March 20, 2020 with no action being taken. Id. Plaintiffs are further informed and believe
                                                                                                                6        that, outraged at this conclusion, representatives of the student body submitted a petition
                                                                                                                7        challenging the manner in which the CLU administration handled their dilatory
                                                                                                                8        investigation, and otherwise shamed Defendant Kimball and the CLU administration into
                                                                                                                9        re-opening the investigation in April 2020.3
                                                                                                                10       33. Plaintiffs are informed and believe that, in or around 2010, it was publicly reported
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11       that swastikas had been painted on a car window and a dorm window at the CLU
                                                                                                                         campus.4
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                13       34. Plaintiffs are informed and believe that in or around 1997, it was reported by the
                                                                                                                14       Los Angeles Times that CLU experienced a rash of racist and homophobic graffiti and
                                                                                                                15       neo-Nazi literature appearing around campus.5 Plaintiffs are further informed and believe
                                                                                                                16       that the Los Angeles Times also memorialized that CLU was widely criticized for its
                                                                                                                17       response to these incidents. Id.
                                                                                                                18       35. Plaintiffs are informed and believe that, because of CLU’s poor record on racial
                                                                                                                19       issues and diversity, outside intervention was required by the WSCUC in 2007, in 2013,
                                                                                                                20       and again in 2015.
                                                                                                                21
                                                                                                                22
                                                                                                                     2
                                                                                                                23     https://www.change.org/p/california-lutheran-university-president-and-cabinet-justice-
                                                                                                                     for-dr-gill; also see https://cluecho.com/13260/news/inconclusive-evidence-one-year-
                                                                                                                24
                                                                                                                     after-professors-office-is-vandalized/#photo
                                                                                                                     3
                                                                                                                25     https://cluecho.com/13652/news/president-agrees-to-reopen-inconclusive-
                                                                                                                26
                                                                                                                     investigation-into-vandalization-of-professors-office/
                                                                                                                     4
                                                                                                                       https://www.splcenter.org/fighting-hate/hate-
                                                                                                                27   incidents?keyword=lutheran&state=IA&f%5B0%5D=field_hate_incident_type%3A3&f
                                                                                                                28   %5B1%5D=field_state%3A19
                                                                                                                     5
                                                                                                                       https://www.latimes.com/archives/la-xpm-1997-04-16-me-49323-story.html

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                          7
                                                                                                                                                                COMPLAINT
                                                                                                                           Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 8 of 63 Page ID #:8




                                                                                                                 1       36. Plaintiffs are informed and believe that WSCUC issued a Special Visit Institutional
                                                                                                                 2       Report (“Report”), dated December 20, 2019, which described several areas where
                                                                                                                 3       sustained progress was necessary for CLU’s diversity, equity, and inclusion goals,
                                                                                                                 4       specifically in the following areas:
                                                                                                                 5            “More efforts are needed to ensure equity and inclusion, to provide
                                                                                                                 6            institution-wide equity and inclusion training ... Refinement is needed in
                                                                                                                 7            the Comprehensive Equity and Inclusion Plan, including assessment of
                                                                                                                 8            progress. Changes are needed to improve retention and graduation rates
                                                                                                                 9            of Black students as well to ensure that Cal Lutheran is not only a
                                                                                                                10            Hispanic enrolling institution, but an authentically Hispanic serving
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11            institution’…”
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12       37. Plaintiffs are informed and believe that throughout said Report, constituents cited
                                                                                                                13       a need for campus-wide training on holding difficult conversations about race and other
                                                                                                                14       politically charged topics about identity, and the necessity of reinforcing the training
                                                                                                                15       throughout the academic year. They cited Human Resources as lacking the professional
                                                                                                                16       knowledge and resources to provide such trainings.
                                                                                                                17       38. Plaintiffs are informed and believe that CLU is currently “in danger of violating
                                                                                                                18       [its accreditor’s] standards,” due in part to the toxic racial climate Defendants created on
                                                                                                                19       campus.6 “Colleges that violate such standards are at risk of losing accreditation and
                                                                                                                20       access to federal financial aid.”7
                                                                                                                21       39. Plaintiffs are informed and believe that on or about February 12, 2020, another
                                                                                                                22       racial incident occurred when it was discovered that a racial slur was etched into a Trinity
                                                                                                                23       Hall elevator.8 Plaintiffs are informed and believe that these identified racial incidents,
                                                                                                                24       and many others that have not been publicly reported, put pressure on CLU’s
                                                                                                                25       administration’s to take drastic measures to try and change through public relations
                                                                                                                26
                                                                                                                27   6
                                                                                                                     https://www.chronicle.com/newsletter/race-on-campus/2021-03-30
                                                                                                                     7
                                                                                                                28   Id.
                                                                                                                   8
                                                                                                                     https://cluecho.com/13039/news/board-of-regents-to-address-unrest-on-campus/

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                           8
                                                                                                                                                                 COMPLAINT
                                                                                                                           Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 9 of 63 Page ID #:9




                                                                                                                 1       efforts the outward perception that CLU has a deplorable record in responding to racism
                                                                                                                 2       and inequality. As such, Defendants adopted a new (and legally questionable) strategy
                                                                                                                 3       of publicly shaming people who they subjectively perceived to have engaged in racism
                                                                                                                 4       or other “things which are not acceptable.”9
                                                                                                                 5         C. COACH DAY SPEAKS OUT REGARDING DISPARATE TREATMENT
                                                                                                                 6            OF THE SOFTBALL TEAM
                                                                                                                 7 40.        At the time of the relevant events described herein, Coach Day was in her 18th year
                                                                                                                 8 as head of the CLU Softball Program. During her time at CLU, Coach Day has held many
                                                                                                                 9 titles, including: Senior Woman Administrator; Compliance Officer; Assistant Athletic
                                                                                                                10 Director; and Head Softball Coach.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 41.        In or about February 2019, Coach Day observed that there was disparate treatment
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 of CLU Athletic teams by the Athletic Department with regard to strength and
                                                                                                                13 conditioning training. In particular, Coach Day observed that her Softball Team, which is
                                                                                                                14 in-season during the spring, was scheduled for only one day a week with CLU’s strength
                                                                                                                15 and conditioning coaches, but that the CLU Women’s Volleyball Team and Women’s
                                                                                                                16 Soccer Team were scheduled three times per week during their off-season. Coach Day
                                                                                                                17 observed that such scheduling of off-season teams for such training in the manner in
                                                                                                                18 which CLU was doing so was a potential violation of Rule 17.02.1.1.1.4.19 and
                                                                                                                19 17.02.1.1(f)10 of the NCAA Division III Bylaws.
                                                                                                                20 42.        Plaintiffs are informed and believe that in order to make sure that she was
                                                                                                                21 interpreting the NCAA Division III Rules correctly, on February 1, 2019 Coach Day
                                                                                                                22 emailed the then Executive Director for the Southern California Intercollegiate Athletic
                                                                                                                23 Conference (“SCIAC”), asking for clarification.
                                                                                                                24
                                                                                                                25
                                                                                                                26   9
                                                                                                                         Defendant Kimball stated in an interview with The Echo that the CLU administration
                                                                                                                27 would be responding to perceived incidents of racisms by: “calling out people when they
                                                                                                                28 do things which are not acceptable.” See https://cluecho.com/13000/news/racial-climate-
                                                                                                                     a-long-standing-issue/

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                         9
                                                                                                                                                               COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 10 of 63 Page ID #:10




                                                                                                                 1 43.       Plaintiffs are informed and believe that Coach Day then brought the information
                                                                                                                 2 she received from the SCIAC to Defendant McHugh’s attention via email and in a
                                                                                                                 3 personal meeting that took place on February 4, 2019.
                                                                                                                 4 44.       Plaintiffs are informed and believe that during the February 4, 2019 meeting,
                                                                                                                 5 Defendant McHugh denied the NCAA violations and the disparate treatment of the
                                                                                                                 6 Softball Team having less access to strength and training coaches than CLU’s favored
                                                                                                                 7 volleyball team – even though the CLU volleyball team was not in-season – and he merely
                                                                                                                 8 stated that CLU was in compliance despite evidence to the contrary.
                                                                                                                 9 45.       Plaintiffs are informed and believe that in May 2019, Defendant McHugh issued
                                                                                                                10 his evaluation of Coach Day, with which Coach Day understandably took issue. As such,
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 Coach Day drafted notes of her meeting with Defendant McHugh and provided them to
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 CLU Human Resources.
                                                                                                                13 46.       Plaintiffs are informed and believe that in said notes, Coach Day memorialized that
                                                                                                                14 she was required by Defendants McHugh and CLU to maintain a .500 win average or
                                                                                                                15 would be fired. Coach Day stated that she felt she was being retaliated against and targeted
                                                                                                                16 for reporting said violations, as CLU had never fired a coach in her previous 17 years for
                                                                                                                17 not winning enough games. She also took issue with a new CLU requirements imposed
                                                                                                                18 on her that she attend NCAA Conventions that are scheduled during conference games.
                                                                                                                19 Additionally, Coach Day raised the issue that there still was a lack of equity for all
                                                                                                                20 athletes/programs at CLU.
                                                                                                                21 47.       On or about August 22, 2019, Coach Day submitted a rebuttal to Defendant
                                                                                                                22 McHugh’s evaluation. Said rebuttal again memorialized the inequitable treatment of the
                                                                                                                23 Softball Team, the unethical practice of recruiting athletes for admittance who do not
                                                                                                                24 satisfy normal academic standards, the lack of financial resources for assistant coaches
                                                                                                                25 for the Softball Team compared to other CLU programs (including CLU Men’s sports
                                                                                                                26 programs), and the fact that Defendant McHugh’s comments to Coach Day in their
                                                                                                                27 previous meeting were more of a personal nature.
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        10
                                                                                                                                                              COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 11 of 63 Page ID #:11




                                                                                                                 1 48.      In addition, Coach Day submitted a document to CLU Human Resources dated
                                                                                                                 2 August 22, 2019 entitled “CLU Strength and Conditioning Concerns.” Said document
                                                                                                                 3 outlined that: CLU was potentially in violation of NCAA Division III rules with regard
                                                                                                                 4 to how CLU has been providing strength and conditioning training to CLU athletes, and
                                                                                                                 5 that Coach Day felt like she was being targeted for retaliation for raising these concerns.
                                                                                                                 6 49.      Thereafter, on or about September 21, 2019, Coach Day sent CLU Human
                                                                                                                 7 Resources a follow-up to a previous report regarding the Athletic Department. This
                                                                                                                 8 document expressly stated that certain comments from Defendants Kimball and McHugh
                                                                                                                 9 have come to Coach Day’s attention that “have escalated this situation from concern to a
                                                                                                                10 hostile workplace.” Therein, Coach Day confirmed she was informed that Defendant
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 Kimball thinks so little of Coach Day and the softball program, and that is why he
                                                                                                                12 scheduled his meeting with Coach Day in September instead of the end of season – as he
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 does with other coaches. She also learned that Defendant Kimball demeans Coach Day to
                                                                                                                14 other coaches by stating that she does not meet with Admissions to see if academic
                                                                                                                15 requirements can be skirted to let in certain athletes that do not meet CLU’s standard
                                                                                                                16 academic requirements. Coach Day was also informed that Defendant McHugh said that
                                                                                                                17 he does not like Coach Day and wants her gone, and that CLU needs to get rid of Coach
                                                                                                                18 Day. Coach Day believes such hostile statements are a direct result of her reporting the
                                                                                                                19 aforementioned violations.
                                                                                                                20 50.      Plaintiffs are informed and believe that, as further punishment for Coach Day
                                                                                                                21 reporting CLU’s aforementioned violations, the Softball Team was thereafter denied any
                                                                                                                22 access to strength training during their off-season in the fall, which was in direct contrast
                                                                                                                23 to other teams receiving multiple days of strength training per week during their off-
                                                                                                                24 season.
                                                                                                                25 51.      Plaintiffs are informed and believe that in October 2019, CLU hired Van Dermyden
                                                                                                                26 Law Corporation to conduct an independent investigation of CLU and the claims made
                                                                                                                27 by Coach Day. Based thereon, an Executive Summary of Investigative Findings was
                                                                                                                28 issued on January 17, 2020. Said Summary found that CLU had not denied the Softball


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                       11
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 12 of 63 Page ID #:12




                                                                                                                 1 Team equitable access to strength and conditioning time because of gender. It also
                                                                                                                 2 determined that Defendant McHugh had not retaliated against Coach Day. The problem
                                                                                                                 3 with the Summary, however, is that Coach Day never said that the Softball Team was
                                                                                                                 4 denied access to strength and conditioning based on gender, but rather based on favoritism
                                                                                                                 5 of certain athletic programs over others rather than need, and in a manner than violated
                                                                                                                 6 NCAA bylaws. It also failed to address Coach Day’s accusations against Defendant
                                                                                                                 7 Kimball. Additionally, on January 24, 2020, Coach Day sent the investigator an email
                                                                                                                 8 memorializing that the CLU Football Team had played ineligible players without
                                                                                                                 9 reporting said infraction to the NCAA in direct violation of NCAA bylaws. Subsequently,
                                                                                                                10 no effort was made to correct said Executive Summary of Investigative Findings.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11       D. CLU’S TITLE IX VIOLATIONS WITH REGARD TO ITS DISPARATE
                                                                                                                             TREATMENT BETWEEN THE MEN’S BASEBALL PROGRAM AND
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                13           THE WOMEN’S SOFTBALL PROGRAM
                                                                                                                14 52.       During said investigation, Coach Day met with Kuntz to discuss the needs of the
                                                                                                                15 CLU Softball program, including maintenance issues of the Softball field. This was
                                                                                                                16 memorialized in an email dated December 16, 2019. During said conversation, Coach
                                                                                                                17 Day identified the drastic inequities that exist between that which has been afforded to
                                                                                                                18 the CLU Men’s Baseball program versus the CLU Women’s Softball program.
                                                                                                                19 53.       By way of example, and not limitation, the following are just some of the blatant
                                                                                                                20 inequities as to competition and practice facilities and services that exist between the CLU
                                                                                                                21 Men’s Baseball program and the CLU Women’s Softball program:
                                                                                                                22 54.       CLU’s Men’s Baseball has a JV program, which allows for Men’s Baseball to
                                                                                                                23 maintain a large roster of players, and otherwise receive additional discretionary funds
                                                                                                                24 for additional coaching staff and other services. In contrast, CLU has mandated that the
                                                                                                                25 Women’s Softball program shall not have a JV program. In depriving Women’s Softball
                                                                                                                26 a JV program, the Women’s Softball Program did not have access to the same player
                                                                                                                27 retention abilities, competitive opportunities, and/or ability to hire additional coaching
                                                                                                                28 staff as has been provided to the CLU Men’s Baseball program.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       12
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 13 of 63 Page ID #:13




                                                                                                                 1 55.       Baseball has a complete stadium that cost approximately $3 Million to build,
                                                                                                                 2 including permanent decorative fencing and locking doors around the complex. Softball
                                                                                                                 3 has a field surrounded by a chain link fence with a padlock on the gate.
                                                                                                                 4
                                                                                                                 5
                                                                                                                 6
                                                                                                                 7
                                                                                                                 8
                                                                                                                 9
                                                                                                                10
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12                   Men’s Baseball Stadium                    Women’s Softball Field
                                                                                                                13 56.       Baseball has permanent seating (including former and historic Dodger stadium
                                                                                                                14 seats) and an occupant load of 611. Softball has portable metal bleachers – two with three
                                                                                                                15 rows and one full size bleacher of the style commonly used at little league fields behind
                                                                                                                16 the backstop.
                                                                                                                17 57.       Baseball has permanent covering over all spectator seating to protect spectators
                                                                                                                18 from the sun. Softball has nothing over the spectator benches and are in direct sunlight
                                                                                                                19 with no natural shade.
                                                                                                                20 58.       Baseball has a permanent masonry building behind home plate, which houses a
                                                                                                                21 men's and women's restroom, a snack bar and a second story press box/control
                                                                                                                22 room. Softball has a portable metal bench and a portable folding table behind home plate
                                                                                                                23 that serves as a makeshift press box. This makeshift press box also has no permanent
                                                                                                                24 shade. The softball field has no snack bar and no restrooms. The closest restroom is over
                                                                                                                25 100 yards away from the softball field in the main sports building.
                                                                                                                26 59.       Baseball has a wireless scoreboard that includes pitch speed, which was purchased
                                                                                                                27 when the new facility was built. The softball field has a malfunctioning wired scoreboard
                                                                                                                28 that is over 20 years old and is in constant need of maintenance.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        13
                                                                                                                                                              COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 14 of 63 Page ID #:14




                                                                                                                 1 60.       Baseball has a permanent sound system with a microphone housed in the press
                                                                                                                 2 box. Softball has a portable speaker on a stand and a portable microphone that
                                                                                                                 3 occasionally works.
                                                                                                                 4 61.       Baseball has permanent concrete dugouts with easy-access storage compartments
                                                                                                                 5 for player equipment, a team meeting room, and a coach's office. The softball field has
                                                                                                                 6 none of these facilities or services. Instead, the softball field only has chain-link-fenced
                                                                                                                 7 dugouts with a bench and worn tarps that attempt to cover the top and sides thereof.
                                                                                                                 8
                                                                                                                 9
                                                                                                                10
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                13
                                                                                                                14
                                                                                                                15
                                                                                                                16
                                                                                                                17
                                                                                                                18           Men’s Masonry Baseball Dugout                        Women’s Softball Dugout
                                                                                                                19 62.       Baseball has permanent storage behind the visitor's dugout. Softball uses an old
                                                                                                                20 shed.
                                                                                                                21 63.       None of these glaring and obvious inequities in the quality of the facilities between
                                                                                                                22 the CLU Men’s Baseball program and the CLU Women’s Softball program were
                                                                                                                23 considered in Van Dermyden Law Corporation’s Title IX investigation, and Plaintiffs are
                                                                                                                24 informed and believe that no one from CLU provided such information to Van Dermyden
                                                                                                                25 Law Corporation to investigate, thus making said investigation a sham.
                                                                                                                26       E. THE LIP-SYNC EVENT
                                                                                                                27 64.       At the conclusion of the CLU Softball Team’s “Hell Week,” it is tradition for the
                                                                                                                28 members of the team to break into smaller groups of four or five girls and to perform a


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        14
                                                                                                                                                              COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 15 of 63 Page ID #:15




                                                                                                                 1 choreographed lip-sync routine while wearing costumes and makeup as part of a team-
                                                                                                                 2 bonding activity. Plaintiffs are informed and believe that this is not an uncommon practice
                                                                                                                 3 amongst CLU’s athletic teams in particular, and NCAA athletic teams in general.
                                                                                                                 4 65.        Plaintiffs are informed and believe that the CLU Volleyball team holds a lip-sync
                                                                                                                 5 team-bonding event every year as well. In the fall of 2018, the CLU Volleyball team
                                                                                                                 6 posted pictures of such an event to their Instagram page wherein the theme was the “Boy
                                                                                                                 7 Band Experience.” As such, the CLU Volleyball team posted pictures of themselves
                                                                                                                 8 dressed like men in Hip-Hop clothing, wigs, gold chains, and makeup resembling facial
                                                                                                                 9 hair, including a group of non-black CLU Volleyball players in curly wigs portraying the
                                                                                                                10 pop group, The Jackson 5.10
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 66.        The parameters of which songs and routines could be performed by the Softball
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 Team members were set forth by Coach Day. Specifically, Coach Day recommended that
                                                                                                                13 songs from the 90s or earlier be used because they tend to be more family-friendly than
                                                                                                                14 current music, and the routines had to be tasteful to the point that they would not be
                                                                                                                15 ashamed to perform them in front of their grandmothers.
                                                                                                                16 67.        Just like the CLU Volleyball Team,11 one group comprised of DOES 1-5 decided
                                                                                                                17 to dress like “dudes” in a “Boy Band” with the style of Hip-Hop clothing worn by “Boy
                                                                                                                18 Bands.” Said group decided to add hats or wigs to hide their feminine hairstyles, and
                                                                                                                19 makeup to portray facial hair to make their faces appear more masculine. DOES 1-5
                                                                                                                20 decided that they wanted to dress like “dudes” before picking the song that were to
                                                                                                                21 perform: to wit, the theme song to the television show The Fresh Prince of Bel-Air. 12
                                                                                                                22
                                                                                                                     10
                                                                                                                23      See https://www.instagram.com/p/BnAtoPOBpLy/?utm_source=ig_web_copy_link
                                                                                                                     11
                                                                                                                         Plaintiffs do not contend that the Volleyball Team did anything wrong or racially
                                                                                                                24
                                                                                                                     insensitive in dressing like men with wigs and perform songs originally performed by
                                                                                                                25   African-American artists. Plaintiffs contend that it would be racial discrimination to make
                                                                                                                26   such an assertion, as CLU did with the Softball Team.
                                                                                                                      12
                                                                                                                          The Fresh Prince of Bel-Air is an American sitcom television series that originally
                                                                                                                27    aired on NBC from September 10, 1990 to May 20, 1996. The show stars Will Smith as a
                                                                                                                28    fictionalized version of himself, a street-smart teenager from West Philadelphia who is


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        15
                                                                                                                                                              COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 16 of 63 Page ID #:16




                                                                                                                1 68.        These members of the Softball Team chose to perform The Fresh Prince of Bel-Air
                                                                                                                2 theme song for two reasons: 1) They all grew up watching the show and enjoying the
                                                                                                                3 theme song; and 2) most of the Softball Team shared the common experience of moving
                                                                                                                4 to an affluent suburb of Los Angeles (Thousand Oaks) to attend CLU from far-away
                                                                                                                5 and/or humble households, and therefore related to the television show’s premise of
                                                                                                                6 experiencing the culture shock of doing so.
                                                                                                                7 69.        As planned, on or about January 21, 2020, the Softball Team finished their last pre-
                                                                                                                8 season practice, and had an hour to change into their costumes and get to the CLU
                                                                                                                9 performing arts building to perform their lip-sync routines. The lip-sync routines were
                                                                                                                10 thereat observed by Coach Day, and Coach Gluckman, and most notably Coach Young,
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 who is African-American.13
                                                                                                                             Plaintiffs are informed and believe that the group in question – DOES 1-5 – dressed
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 70.
                                                                                                                13 in their hip-hop costumes, with two of the girls wearing dirty-blond “Napoleon
                                                                                                                14 Dynamite” wigs.
                                                                                                                15
                                                                                                                16
                                                                                                                17
                                                                                                                18
                                                                                                                19
                                                                                                                20
                                                                                                                21
                                                                                                                22
                                                                                                                23
                                                                                                                24
                                                                                                                      sent to move in with his wealthy uncle and aunt in their Bel Air mansion after getting
                                                                                                                25    into a fight in his hometown. In the series, his lifestyle often clashes with the lifestyle of
                                                                                                                26
                                                                                                                      his relatives in Bel Air. https://en.wikipedia.org/wiki/The_Fresh_Prince_of_Bel-Air
                                                                                                                     13
                                                                                                                        Plaintiffs are informed and believe that the CLU administration was completely
                                                                                                                27   unaware that Coach Young was African-American when they made their false claims that
                                                                                                                28   the CLU Softball Team had engaged in a “Blackface” performance in front of her during
                                                                                                                     an event that she was jointly supervising.

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        16
                                                                                                                                                              COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 17 of 63 Page ID #:17




                                                                                                                 1 71.       Said routine was clean, fun, and enjoyed by those who attended. More
                                                                                                                 2 particularly, Coach Day, Coach Young, and Coach Gluckman confirmed that neither the
                                                                                                                 3 subject matter, nor the routine, were offensive, insensitive, or derogatory. As such, the
                                                                                                                 4 Softball Team posted pictures and videos of said routine to their Team Instagram page.
                                                                                                                 5 72.      On or about January 26, 2020, Coach Day received a message from Kuntz saying
                                                                                                                 6 that an unidentified CLU staff member complained to Defendant Kimball that the Softball
                                                                                                                 7 Team posted a “Blackface” performance to social media. Coach Day confirmed that no
                                                                                                                 8 such “Blackface” performance took place, and that DOES 1-5 were wearing makeup to
                                                                                                                 9 resemble male facial hair. However, she stated that she would have the Softball Team
                                                                                                                10 take the performance down from social media to avoid anyone misinterpreting the event.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 73.      Thereafter, the Softball Team and coaches told Kuntz what had happened at the lip-
                                                                                                                12 sync event and confirmed that there was no “Blackface” performance. They were told that
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 the complaint from the unidentified CLU staff member was that some of the girls in the
                                                                                                                14 performance appeared to be wearing “Blackface” makeup on their entire faces.             In
                                                                                                                15 response, the team confirmed that the girls were dressed as men with facial hair, and that
                                                                                                                16 nothing inappropriate was done at the lip-sync event. More importantly, the Softball Team
                                                                                                                17 informed Kuntz that they are all socially conscious and extremely aware of the fact that
                                                                                                                18 the members of their team and coaching staff are ethnically, racially, and sexually diverse,
                                                                                                                19 and that they would never do anything that would be make anyone feel discriminated
                                                                                                                20 against, ridiculed, or not included because of ethnicity, race or sexual orientation.
                                                                                                                21 74.      Plaintiffs are informed and believe that, on or about February 5, 2020, Defendant
                                                                                                                22 Kimball caused and/or allowed CLU to send a blast email to the entire CLU community
                                                                                                                23 and to every email address in the CLU system. At no time prior to this email did Defendant
                                                                                                                24 Kimball attempt to perform any direct investigation into this matter. Specifically,
                                                                                                                25 Defendant Kimball had not directly communicated with any of the coaches or the Softball
                                                                                                                26 Team to try to learn exactly what occurred at the lip-sync performance. Despite this,
                                                                                                                27 Defendant Kimball stated in his February 5, 2020 email that CLU students had engaged
                                                                                                                28 in a form of racism and confirmed that such an incident involved “Blackface.” A true and


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                       17
                                                                                                                                                            COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 18 of 63 Page ID #:18




                                                                                                                 1 correct copy of Defendant Kimball’s February 5, 2020 email is attached hereto as Exhibit
                                                                                                                 2 “1,” and is incorporated herein by this reference. The email further stated: “Those who
                                                                                                                 3 are responsible will be held accountable.” Id.14
                                                                                                                 4 75.        Plaintiffs are informed and believe that the sending of said email was designed to
                                                                                                                 5 harass and inflict significant harm on Plaintiffs. This is due to the fact that Defendant
                                                                                                                 6 Kimball and/or whomever wrote said email and put Defendant Kimball’s name on it (i.e.,
                                                                                                                 7 a person believed to be Defendant Doherty), had no legitimate need to reference any
                                                                                                                 8 specific racist incident therein, let alone a false claim that a “Blackface” incident had been
                                                                                                                 9 perpetrated by any CLU student, in order to communicate that CLU does not condone
                                                                                                                10 racism.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 76.        Plaintiffs are informed and believe that no one associated with CLU’s Women’s
                                                                                                                12 Softball Team has engaged in, or allowed anyone to engage in, “Blackface” as the term
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 is and was understood by the general public who saw said email, which is also the same
                                                                                                                14 understanding as the term is defined by the Oxford Learner’s Dictionary, Merriam-
                                                                                                                15 Webster Dictionary, Cambridge Dictionary, Macmillan Dictionary, Collins English
                                                                                                                16 Dictionary,         Lexico.com,    definitions.net,   dictionary.com,   yourdictionary.com,
                                                                                                                17 vocabulary.com, or even urbandictionary.com; to wit, “Blackface” is the actual wearing
                                                                                                                18 of dark facial makeup to give the appearance of a black person.
                                                                                                                19 77.        Plaintiffs are informed and believe that although Defendant Kimball did not
                                                                                                                20 expressly identify the members of the Softball Team as being the subjects of his
                                                                                                                21 “Blackface” statement in said February 5, 2020 email, it was well known in the CLU
                                                                                                                22 community and elsewhere that said February 5, 2020 email was referring to the Softball
                                                                                                                23 Team. This was confirmed when, almost immediately after Defendant Kimball sent out
                                                                                                                24 the defamatory February 5, 2020 blast email to thousands of people falsely confirming as
                                                                                                                25
                                                                                                                     14
                                                                                                                26
                                                                                                                     Plaintiffs are informed and believe that the February 5, 2020 email also made reference
                                                                                                                   to a then-recent video posting of a Caucasian female CLU student, not affiliated with the
                                                                                                                27 CLU Softball program, using the N-word in a non-derogatory manner with her African-
                                                                                                                28 American friend. Said video went viral and caused outrage on the CLU Campus.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        18
                                                                                                                                                              COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 19 of 63 Page ID #:19




                                                                                                                 1 fact that CLU students posted pictures of themselves on social media in “Blackface,” a
                                                                                                                 2 member of the CLU student governing body confirmed on social media that he understood
                                                                                                                 3 said email to be referring to the Softball Team.
                                                                                                                 4 78.        Plaintiffs are informed and believe that Defendant Kimball’s February 5, 2020
                                                                                                                 5 email sparked significant and racial outrage on campus and immediately went viral. By
                                                                                                                 6 way of example, the CLU Newspaper, The Echo, published on February 5, 2020 to
                                                                                                                 7 thousands of people in an article entitled “Student-Athletes Involved in Racist Incidents.”
                                                                                                                 8 Said article confirmed that Defendant Kimball stated as fact that a “blackface” incident
                                                                                                                 9 occurred involving student-athletes, and that they would be held accountable.15
                                                                                                                10 79.        Plaintiffs are informed and believe that the story was then published on February
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 6, 2020 by the Ventura County Star16 in an article entitled: “Racial Social Media Posts by
                                                                                                                12 Cal Lutheran Students Denounced by School Officials.”17 The story about the offending
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 February 5th email then made national news on February 7, 2020 when it was published
                                                                                                                14 in USA Today18 in an article that stated: “In one video, students wearing what looked to
                                                                                                                15 be blackface lipsynched a song.”19 20
                                                                                                                16
                                                                                                                     15
                                                                                                                        See https://cluecho.com/12954/news/student-athletes-involved-in-racist-incidents/
                                                                                                                17   16
                                                                                                                         The VC Star reported their daily readership in 2016 to be between 45,700 and 58,000.
                                                                                                                18   See https://www.pacbiztimes.com/2016/04/08/gannett-buys-ventura-county-star/
                                                                                                                     17
                                                                                                                        https://www.vcstar.com/story/news/local/communities/conejo-
                                                                                                                19
                                                                                                                     valley/2020/02/06/racial-posts-cal-lutheran-students-denounced-school-
                                                                                                                20   officials/4683135002/
                                                                                                                     18
                                                                                                                21      USA Today reported a combined daily circulation of 1,231,306.                     See
                                                                                                                     https://en.wikipedia.org/wiki/USA_Today
                                                                                                                22   19
                                                                                                                        https://www.usatoday.com/story/news/nation/2020/02/07/gray-wolf-blackface-
                                                                                                                23   homelessness-oscars-joker-mlb-friday-news/4691574002/
                                                                                                                     20
                                                                                                                         Other news articles about the incident https://vcreporter.com/2020/02/clu-softball-
                                                                                                                24
                                                                                                                     team-accused-of-blackface-all-sides-say-admin-response-misses-the-mark/                ;
                                                                                                                25   https://www.newsbreak.com/news/0OC8h4x4/clu-softball-team-accused-of-blackface-
                                                                                                                26
                                                                                                                     all-sides-say-admin-response-misses-the-mark; https://www.kclu.org/post/south-coast-
                                                                                                                     university-officials-say-they-are-investigating-some-racist-posts-students#stream/0
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        19
                                                                                                                                                              COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 20 of 63 Page ID #:20




                                                                                                                 1 80.       Plaintiffs are informed and believe that the CLU Black Student Union (“BSU”)
                                                                                                                 2 published an open letter confirming that, but for Defendant Kimball’s February 5th email,
                                                                                                                 3 they “would have not known [of] the Blackface incident.” The public letter also threatens:
                                                                                                                 4 “If appropriate actions (expulsion or suspension) are not taken against these students by
                                                                                                                 5 the university, we will take matters into our own hands.”
                                                                                                                 6 81.       Horrified, embarrassed, and fearful for their own safety due to the racially
                                                                                                                 7 motivated harassment being instituted against them, the Softball Team convened on
                                                                                                                 8 February 6, 2020 and wrote a letter for Kuntz and Defendants McHugh and Kimball to
                                                                                                                 9 publish to the CLU Community apologizing for any misunderstanding that may have been
                                                                                                                10 caused by their social media post. The letter stated in part:
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                                                                                              “A couple of weeks ago, the California Lutheran University Softball team
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                             posted a series of photos and videos featuring different costumes from a
                                                                                                                13           team bonding activity. A few of these costumes featured apparel and
                                                                                                                14           hairstyles that were perceived as racially insensitive. Additionally,
                                                                                                                             members drew on facial hair that when looked at in a photograph came
                                                                                                                15
                                                                                                                             across as blackface. These were not the intentions of those wearing the
                                                                                                                16           beards and no one in attendance viewed the beards as such. Even though
                                                                                                                17
                                                                                                                             the beards were perceived as blackface, no blackface was worn.
                                                                                                                             Nevertheless, we acted from a place of ignorance and had no intention to
                                                                                                                18           cause any sort of harm. We acknowledge the place of privilege we come
                                                                                                                19           from and accept the harm we have caused to many, and we apologize
                                                                                                                             profusely.”
                                                                                                                20
                                                                                                                     82.     Plaintiffs are informed and believe that the apology letter was given to Defendant
                                                                                                                21
                                                                                                                     Kimball’s office through Kuntz and Defendant McHugh. To date, Defendants have kept
                                                                                                                22
                                                                                                                     this letter a secret, and have otherwise continued to promulgate the lie that the Softball
                                                                                                                23
                                                                                                                     Team engaged in a racist “Blackface” incident.
                                                                                                                24
                                                                                                                     83.     Plaintiffs are informed and believe that this apology letter was, and continues to
                                                                                                                25
                                                                                                                     be, kept a secret because it discloses that Defendants misled the public into believing that
                                                                                                                26
                                                                                                                     an actual racist “Blackface” event had occurred. In turn, the publishing of said apology
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       20
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 21 of 63 Page ID #:21




                                                                                                                 1 letter would have garnered sympathy for Plaintiffs and caused a negative backlash against
                                                                                                                 2 CLU for their gross mishandling of the event.
                                                                                                                 3 84.       On or about February 7, 2020, the Softball team was making preparations to leave
                                                                                                                 4 on February 8, 2020 for Texas, whereat they were scheduled to play six away-games over
                                                                                                                 5 the course of a week. Instead, they were forced to meet with multiple administrators for
                                                                                                                 6 several hours that kept trying to convince the players to confess that they did something
                                                                                                                 7 wrong. However, the Softball Team would not budge, and steadfastly protested their
                                                                                                                 8 innocence with regard to anyone claiming they engaged in a racist performance of
                                                                                                                 9 “Blackface.”
                                                                                                                10 85.       Thereafter, at approximately 9 PM on February 7, 2020, the Softball Team was
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 informed by Defendant Kimball that he had canceled the Texas trip and that all members
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 of the CLU Softball program were to attend a meeting at CLU with Defendant Kimball
                                                                                                                13 to discuss the “Blackface” incident. In addition, the coaches were informed that they were
                                                                                                                14 being put on administrative leave pending an investigation in order to determine whether
                                                                                                                15 they were to be disciplined and/or terminated, and were otherwise instructed to have no
                                                                                                                16 contact with the Softball Team.
                                                                                                                17 86.       Plaintiffs are informed and believe that on or about February 8, 2020, the coaches
                                                                                                                18 and players attended said meeting with Defendants Kimball and Doherty, along with a
                                                                                                                19 number of the players’ parents. The following list contains items of particular note that
                                                                                                                20 were memorialized on an audio recording of said meeting:
                                                                                                                21
                                                                                                                           @ 1:27 Defendant Kimball talks about the Texas trip and says that he canceled the
                                                                                                                22    Texas trip not as a punishment, but rather the trip was going to have the Softball Team
                                                                                                                23    gone for nearly a week while “all this stuff is bubbling up on campus,” and he needs to
                                                                                                                      “deal with all of this stuff now” and not a week from now when they get back.
                                                                                                                24
                                                                                                                25        @3:15 Defendant Kimball states that he does not believe that anyone was
                                                                                                                26    intending any bad things toward any CLU student. But, things have been done that
                                                                                                                      have been perceived as hurtful.
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       21
                                                                                                                                                             COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 22 of 63 Page ID #:22




                                                                                                                 1        @3:36 Defendant Kimball states he is aware the team is angry about the February
                                                                                                                      5 email. He acknowledges the team believes that said email put a target on the team’s
                                                                                                                        th
                                                                                                                 2    back and condemned them for things that they do not believe they did.
                                                                                                                 3
                                                                                                                          @5:39 Defendant Kimball says that he understands the argument that the team did
                                                                                                                 4
                                                                                                                      not do what they are accused of, and that he believes in his heart that the Team did
                                                                                                                 5    not intend to do anything racist. He then says, however, that there is a distinction
                                                                                                                 6    between intent and impact and that some of the images play to things that are hurtful.
                                                                                                                 7        @6:56 Defendant Kimball says he needs to learn this lesson as much as anybody
                                                                                                                 8    because he is “an old white male” with privileges.
                                                                                                                 9
                                                                                                                           @7:56 Defendant Kimball acknowledges there are concerns about safety and that
                                                                                                                10    the team has received threatening comments.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                                                                                           @9:14 Defendant Kimball is questioned by a parent as to what he saw in the videos
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                      and if anyone was in “Blackface.” Defendant Kimball responds that he saw a number
                                                                                                                13    of photographs and a video and that this was girls wearing male beard stubble.
                                                                                                                14
                                                                                                                           @11:13 One player speaks to Defendant Kimball and tells him that he needs to
                                                                                                                15    think not about the intent of his email, but the impact of his email. The impact was that
                                                                                                                16    he hurt all of the team. He is in a position of authority and is supposed to protect them
                                                                                                                      and instead he hurt them. That the statement was issued without him knowing all of the
                                                                                                                17
                                                                                                                      facts. She says that the entire school hates them because Defendant Kimball told the
                                                                                                                18    entire school that they did “Blackface” when they did not. The player stated Defendant
                                                                                                                19
                                                                                                                      Kimball sent out the email before doing an investigation. Because of Defendant
                                                                                                                      Kimball’s carelessness, everyone on the team is now hurt. He did not need to cancel the
                                                                                                                20    Texas trip for his own convenience. He could have met with the Team on Wednesday or
                                                                                                                21    Thursday or Friday and he made no effort to do so. “Blackface” is a loaded word and he
                                                                                                                      was irresponsible to tell CLU that they did that.
                                                                                                                22
                                                                                                                23        @13:40 Defendant Kimball says that there are folks that would say that it is
                                                                                                                24
                                                                                                                      “Blackface” as they understand the word – referring to how the girls were dressed,
                                                                                                                      including the wigs. 21
                                                                                                                25
                                                                                                                     21
                                                                                                                26   Plaintiffs are informed and believe that, when faced with conclusive evidence that none
                                                                                                                   of the members of the Softball Team had put makeup on their face to imitate a person of
                                                                                                                27 color, Defendant Kimball for the first time pivoted to defend his February 5, 2020 email
                                                                                                                28 at this meeting by claiming that dressing like men with wigs and wearing “Hip-Hop”


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      22
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 23 of 63 Page ID #:23




                                                                                                                1
                                                                                                                           @14:14 Coach Day states that she had not been asked by anyone directly from
                                                                                                                2     Defendant Kimball’s office about anything regarding the incident and there had been
                                                                                                                3     zero communications with her or any of the coaching staff.
                                                                                                                4
                                                                                                                           @15:07 Another team member says that Defendant Kimball was dishonest about
                                                                                                                5     the reasons he canceled the Texas trip. She says that the incident was brought to their
                                                                                                                6     attention two weeks prior and that he did nothing to address it until the evening of the
                                                                                                                      Texas trip. He could have investigated the incident weeks ago, have the group go to
                                                                                                                7     meetings and handle the situation before this became a big situation. But no one came to
                                                                                                                8     them to properly investigate the matter.
                                                                                                                9
                                                                                                                           @17:55 Another player tells Defendant Kimball that it was her dream to come to
                                                                                                                10    CLU to play softball for CLU. She tells Defendant Kimball that everyone knew
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11    immediately after he sent the February 5 email that he was referring to the Softball
                                                                                                                      Team. She said she is afraid to wear her softball gear on campus. She said, as a result of
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12    the February 5 email, students are now calling her racist, and telling her “your ass is
                                                                                                                13    going to be fucking beat.” She said Defendant Kimball should know the impact this has
                                                                                                                      had on her family; that they are freaking out.
                                                                                                                14
                                                                                                                15         @19:08 Another player tells Defendant Kimball that he associated the softball team
                                                                                                                16    in his email with an unrelated N-Word incident not involving Plaintiffs. That doing so
                                                                                                                      was a detrimental attribution that will follow the players for the rest of their college
                                                                                                                17    career and after. She states that the team is now afraid to be on campus.
                                                                                                                18
                                                                                                                           @26:24 Defendant Kimball says in response to another player accusing him of
                                                                                                                19
                                                                                                                      mishandling the situation that he should have done things differently. Defendant Kimball
                                                                                                                20    claims that what they did was “Blackface.” Defendant Kimball claims that there are
                                                                                                                21    different definitions for “Blackface” for some people, alluding to use of a wig or dressing
                                                                                                                      in hip-hop clothing. The parents erupt uniformly in disagreement. Parents then accuse
                                                                                                                22    Defendant Kimball of being the problem by stereotyping that Hip-Hop dress is
                                                                                                                23    exclusively meant to mimic black people.
                                                                                                                24
                                                                                                                     clothing was racist and constituted “Blackface.” The right to dress in “Hip-Hop” clothing
                                                                                                                25   is not exclusive to people of color, and it is actually discriminatory racism to make such
                                                                                                                26
                                                                                                                     an assertion. Likewise, as stated earlier, the dirty blond wigs at issue were part of a
                                                                                                                     Napoleon Dynamite costume – a white male movie character – that were worn to imitate
                                                                                                                27   males and not people of color. The fact remains that, had the members of the subject
                                                                                                                28   routine in question been African-American, Defendants would not have stated that
                                                                                                                     wearing Napoleon Dynamite wigs and “Hip-Hop” clothing was “Blackface.”

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       23
                                                                                                                                                             COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 24 of 63 Page ID #:24




                                                                                                                1
                                                                                                                     87.      During said meeting, Defendant Kimball also admitted that he did not write the
                                                                                                                2
                                                                                                                     email himself, as he was on an airplane when it was sent. Rather, he claims someone else
                                                                                                                3
                                                                                                                     wrote the email and put his name on it, but that he would take responsibility for its content.
                                                                                                                4
                                                                                                                     Plaintiffs contend that the offending February 5th email was actually written and sent in
                                                                                                                5
                                                                                                                     whole or in part by Defendant Doherty, and that she put Defendant Kimball’s name on it.
                                                                                                                6
                                                                                                                     88.      Thereafter, the Softball Team was forced to attend a mandatory meeting with the
                                                                                                                7
                                                                                                                     CLU Pastors for several hours under the pretense that it was to be a private and
                                                                                                                8
                                                                                                                     confidential counseling session between the players and their spiritual advisors. In reality,
                                                                                                                9
                                                                                                                     the purpose of the meeting was to allow Defendant Doherty to pressure the players into
                                                                                                                10
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP




                                                                                                                     confessing that they engaged in a racial “Blackface” event, and that they otherwise did
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                                                                                     something worthy of punishment.
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                     89.      Plaintiffs are informed and believe that, at no time during this “counseling session”
                                                                                                                13
                                                                                                                     did Defendant Doherty disclose that she was the author of the February 5th email that
                                                                                                                14
                                                                                                                     harmed the players, that she intended to continue to harm the players if they failed to
                                                                                                                15
                                                                                                                     confess, and that she intended to use the information in said meeting to do so. As such, it
                                                                                                                16
                                                                                                                     is likely that Defendant Doherty violated her duties owed to the players as a Lutheran
                                                                                                                17
                                                                                                                     Pastor in engaging in the conduct identified herein.22
                                                                                                                18
                                                                                                                     90.      After the February 8th meetings, the Players were told to attend another meeting on
                                                                                                                19
                                                                                                                     February 9, 2020 with Defendant Doherty in attendance. The Players gave up time away
                                                                                                                20
                                                                                                                     from their studies to attend this meeting. However, the meeting was immediately stopped
                                                                                                                21
                                                                                                                     by their attorney, as it was designed to allow Defendants to show the general public that
                                                                                                                22
                                                                                                                23
                                                                                                                     22
                                                                                                                       A pastor has a duty not to harm those that seek their spiritual guidance and to otherwise
                                                                                                                24
                                                                                                                     hold in confidence any information obtained during a counseling session. A pastor who
                                                                                                                25   violates this trust “might be on the losing end of a suit for an invasion of privacy or
                                                                                                                26
                                                                                                                     defamation.” See David C. Gibbs, attorney (September 26, 2003). "Pastoral Counseling:
                                                                                                                     Safeguard Against Potential Liability." Church Solutions; Also See Richard N. Olstling;
                                                                                                                27   J.Madeleine Nash/Chicago:Martin Casey/Miami (Oct 1984). "Confidence and the
                                                                                                                28   Clergy." Time U.S. David C. Gibbs, attorney (September 26, 2003). "Pastoral Counseling:
                                                                                                                     Safeguard Against Potential Liability." Church Solutions.

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                         24
                                                                                                                                                               COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 25 of 63 Page ID #:25




                                                                                                                 1 Defendants were disciplining the Softball Team without telling the Softball Team they
                                                                                                                 2 were actually being disciplined.
                                                                                                                 3 91.      Plaintiffs are informed and believe that Plaintiffs’ attorney and CLU’s attorney then
                                                                                                                 4 met in person on Sunday, February 9, 2020 to try and mitigate the damage that was being
                                                                                                                 5 inflicted upon Plaintiffs. As a direct outcome from said meeting, the Softball Team
                                                                                                                 6 received on Monday, February 10, 2020 at 12:18 PM an email from the Assistant Dean
                                                                                                                 7 of Students stating that: “Based on our review of this situation, we have determined that
                                                                                                                 8 there will be no individual student conduct process related to the performances.” A true
                                                                                                                 9 and correct redacted copy of said email is attached hereto as Exhibit “2” and is
                                                                                                                10 incorporated herein by this reference.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 92.      Plaintiffs are informed and believe that this email was supposed to help reassure
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 the Softball Team that they would not be facing any official CLU discipline for the alleged
                                                                                                                13 incident, and could start trying to return their lives back to normal.
                                                                                                                14 93.      However, not even an hour later, Plaintiffs are informed and believe that Defendant
                                                                                                                15 Kimball (and Defendant Doherty) sent out a second damaging “blast” email that again
                                                                                                                16 unnecessarily referenced the “Blackface” incident, but this time in a more racially
                                                                                                                17 inflammatory manner.
                                                                                                                18 94.      Plaintiffs are informed and believe that Defendant Kimball (and Defendant
                                                                                                                19 Doherty) inexplicably sent out said email despite being directly and personally informed
                                                                                                                20 that: 1) the entire campus knew the offending February 5 th email was referring to the
                                                                                                                21 Softball Team when it mentioned the “Blackface” incident; 2) that publicly referring to
                                                                                                                22 the “Blackface” incident was hurtful to those that are associated with the Softball Team
                                                                                                                23 (including those nineteen (19) girls who did not engage in the subject lip-sync
                                                                                                                24 performance); and 3) that reference to the “Blackface” incident was so racially
                                                                                                                25 inflammatory that it compromised the safety of those involved with the CLU Softball
                                                                                                                26 program.
                                                                                                                27 95.      Plaintiffs are informed and believe that this second email was sent out on February
                                                                                                                28 10, 2020 at 1:16 PM to the entire CLU community (and known public for whom CLU


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                        25
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 26 of 63 Page ID #:26




                                                                                                                1 had an email address). A true and correct redacted copy of the February 10, 2020 email
                                                                                                                2 is attached hereto as Exhibit “4” and is incorporated herein by this reference. Said email
                                                                                                                3 stated:
                                                                                                                4            “As a starting point, we want to share more detailed information about some
                                                                                                                             incidents and their impact. The University has a responsibility to identify and
                                                                                                                5            respond to behavior that is inconsistent with our values. In one incident,
                                                                                                                6            students were recorded doing performances in which there were exaggerated
                                                                                                                             characterizations of black people and culture. The images were shared on
                                                                                                                7
                                                                                                                             social media. Many viewers in our campus community took offense and
                                                                                                                8            identified it as blackface. While some have questioned the University’s use of
                                                                                                                9
                                                                                                                             the term “blackface,” and whether such a definition is solely limited to using
                                                                                                                             makeup on one’s face, the University used the term as it is often used by
                                                                                                                10           historians – comedic performances of “blackness” by whites in exaggerated
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11           costumes and makeup. Regardless of how one views this particular definition,
                                                                                                                             it does not change the nature of the underlying conduct.”
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                     96.     There was no reason for said email “to share more detailed information about some
                                                                                                                13
                                                                                                                     incidents and their impact” other than to intentionally publicly smear Plaintiffs and to
                                                                                                                14
                                                                                                                     intentionally cause them to be in fear for their safety.
                                                                                                                15
                                                                                                                     97.     Plaintiffs are informed and believe that the February 10, 2020 email contained
                                                                                                                16
                                                                                                                     numerous maliciously false facts: First, there were no “performances in which there were
                                                                                                                17
                                                                                                                     exaggerated characterizations of black people and culture.” Thus, it was false to say that
                                                                                                                18
                                                                                                                     students were recorded engaging in such racially inflammatory behavior.
                                                                                                                19
                                                                                                                     98.     Second, Plaintiffs are informed and believe that the video and pictures in question
                                                                                                                20
                                                                                                                     were not viewed by “many members” of the “campus community.” The view count on
                                                                                                                21
                                                                                                                     Instagram of the subject social media posting was extremely low, and the BSU confirmed
                                                                                                                22
                                                                                                                     that they had previously not known about the alleged incident and had never viewed the
                                                                                                                23
                                                                                                                     content. Rather, the individual viewer that complained was a CLU employee.
                                                                                                                24
                                                                                                                     99.     Third, Plaintiffs are informed and believe that the email then falsely states: “the
                                                                                                                25
                                                                                                                     University used the term as it is often used by historians – comedic performances of
                                                                                                                26
                                                                                                                     ‘blackness’ by whites in exaggerated costumes and makeup. Regardless of how one views
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        26
                                                                                                                                                              COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 27 of 63 Page ID #:27




                                                                                                                 1 this particular definition, it does not change the nature of the underlying conduct.” This
                                                                                                                 2 statement is defamatory on its face, as it is false on many levels.
                                                                                                                 3 100. Plaintiffs are informed and believe that the “Blackface” definition used by CLU in
                                                                                                                 4 the February 10, 2020 email does not exist. Rather, it is an intentional and bad-faith
                                                                                                                 5 perversion of the definition of “Minstrelsy,” as noted by the single historian Dale
                                                                                                                 6 Cockrell. 23 It is not the definition of “Blackface,” which focuses on the art of donning
                                                                                                                 7 black makeup to one’s entire face to portray a person of color.
                                                                                                                 8 101. Plaintiffs are informed and believe that not only is CLU’s perverted definition of
                                                                                                                 9 “Blackface” incorrect, but it both implies intent and otherwise asserts – contrary to
                                                                                                                10 Defendant Kimball’s previous statement that he believed in his heart that there was no
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 racist intent – that the entirety of the Softball Team callously and maliciously intended to
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 portray African-American people and culture in a derogatory and comedic fashion.
                                                                                                                13 102. Plaintiffs are informed and believe that the negative effect and connotation of this
                                                                                                                14 February 10, 2020 email cannot be understated, especially since its content and reference
                                                                                                                15 to the “Blackface” incident was completely unnecessary to the information contained in
                                                                                                                16 the rest of the email. What is more, the email went on to belittle the information
                                                                                                                17 Defendants Kimball and Doherty received from the Softball Team of the threats of
                                                                                                                18 violence that were being made against them when it stated: “On the other hand, we
                                                                                                                19 recognize that people are sharing their feelings and opinions, which some may perceive
                                                                                                                20 as threats. There is a difference between critiques and threats.” See Exhibit “3.”
                                                                                                                21
                                                                                                                22   23
                                                                                                                      CLU intentionally and in bad-faith perverted the following definition of the term
                                                                                                                23   “Minstrelsy”: “Historian Dale Cockrell once noted that poor and working-class whites
                                                                                                                     who felt ‘squeezed politically, economically, and socially from the top, but also from the
                                                                                                                24
                                                                                                                     bottom, invented minstrelsy’ as a way of expressing the oppression that marked being
                                                                                                                25   members of the majority, but outside of the white norm. Minstrelsy, comedic
                                                                                                                26
                                                                                                                     performances of ‘blackness’ by whites in exaggerated costumes and make-up,
                                                                                                                     cannot be separated fully from the racial derision and stereotyping at its core.”
                                                                                                                27   See: https://nmaahc.si.edu/blog-post/blackface-birth-american-stereotype (emphasis
                                                                                                                28   added).


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      27
                                                                                                                                                            COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 28 of 63 Page ID #:28




                                                                                                                 1 103. As a direct and proximate result of Defendants’ conduct, Defendants have
                                                                                                                 2 destroyed the Softball Team’s ability to effectively and fully mentally and/or physically
                                                                                                                 3 participate in scholastic and extracurricular endeavors at CLU.
                                                                                                                 4 104. Plaintiffs are informed and believe that, as a direct result of Defendants’ wrongful
                                                                                                                 5 conduct documented herein, Plaintiffs have suffered extreme and irreparable damage to
                                                                                                                 6 their reputations and mental health. They have also had their physical safety put at risk,
                                                                                                                 7 and their academic and/or professional careers tarnished and/or destroyed.
                                                                                                                 8         F. CLU CAMPUS CIVIL UNREST AND HARASSMENT RESULTING FROM
                                                                                                                 9            THE FALSE “BLACKFACE” ACCUSATIONS
                                                                                                                10 105. Plaintiffs are informed and believe that the February 10th email had inflamed racial
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 passions and anger on the CLU campus to such a degree that the BSU organized an
                                                                                                                12 unauthorized campus “walk-out,” whereat they demanded the expulsion of the entire
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 Softball Team for being racists. On the way to the “walk-out,” students who were trying
                                                                                                                14 to stay in their classes and learn were confronted by hostile mobs of students that called
                                                                                                                15 them “racist,” and otherwise pressured said students to participate and follow a crowd
                                                                                                                16 shouting: “Give us their names! Expel them all!”24
                                                                                                                17 106. Plaintiffs are informed and believe that the “walk-out” mob then stormed the
                                                                                                                18 Administration Building and live-streamed their confrontations with administrators. In
                                                                                                                19 such videos, the students confront Defendant McHugh and demanded the expulsion of
                                                                                                                20 the Softball Team. The mob said to Defendant McHugh that they know who the team is
                                                                                                                21 that engaged in “Blackface” and that they demand the Softball Team be expelled because
                                                                                                                22 they do not want to be near them on campus.
                                                                                                                23 107. Plaintiffs are informed and believe that in said videos, Defendant McHugh further
                                                                                                                24 defames Plaintiffs by confirming as fact there was a “Blackface” incident. The students
                                                                                                                25 also claim that Defendant Kimball’s emails confirmed that the Softball Team had already
                                                                                                                26
                                                                                                                27   24
                                                                                                                    Plaintiffs are informed and believe that Defendant Kimball and other CLU faculty
                                                                                                                28 members voluntarily spoke publicly at said “walk-out,” and otherwise supported and
                                                                                                                   condoned the “walk-out.”

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      28
                                                                                                                                                            COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 29 of 63 Page ID #:29




                                                                                                                 1 been found guilty by Defendants of engaging in racist “Blackface” conduct. The video
                                                                                                                 2 then shows Defendant McHugh committing a Federal Educational Rights and Privacy Act
                                                                                                                 3 (“FERPA”) violation by disclosing that the student involved in the N-Word incident was
                                                                                                                 4 suspended.
                                                                                                                 5 108. Plaintiffs are informed and believe that, in another video, the mob corners Christine
                                                                                                                 6 Paul, the Assistant Dean of Students. Therein, Ms. Paul attempts to deny the content of
                                                                                                                 7 her February 10, 2020 email wherein she states that the Softball Team would not be facing
                                                                                                                 8 any “individual student conduct process related to the performances.” Instead, in response
                                                                                                                 9 to the mob demanding the Softball Team be expelled, Ms. Paul falsely implies that
                                                                                                                10 Plaintiffs are still subject to discipline, and are being disciplined, because: “there are lots
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 of things that can happen.” This too is a potential FERPA violation since the mob had
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 already stated that they knew CLU was referring to the Softball Team when it made
                                                                                                                13 reference in its emails to the “Blackface” incident.
                                                                                                                14 109. Plaintiffs are informed and believe that, in an effort to try and calm tensions and
                                                                                                                15 explain what occurred, the Softball Team reached out to the BSU and invited them to
                                                                                                                16 meet over a dinner to “talk about the information that is now out there, causing so much
                                                                                                                17 pain for everyone, and create a dialogue between our two groups.” The BSU outright
                                                                                                                18 refused the invitation due to Defendants’ conduct that branded the Softball Team as racists
                                                                                                                19 and turned them into social pariahs.
                                                                                                                20 110. The toxic, volatile, and substantially racially-charged environment on campus
                                                                                                                21 Defendants created had become so pervasive and dangerous that the members of the
                                                                                                                22 Softball program were made to fear for their own personal safety and well-being. The
                                                                                                                23 Thousand Oaks Police Department had been monitoring the situation and deemed the
                                                                                                                24 threat level against the Softball Team and their coaches was so high that it warranted the
                                                                                                                25 public display of a police presence at all softball practices and games for approximately
                                                                                                                26 two weeks.
                                                                                                                27 111. Plaintiffs are informed and believe that at this juncture that CLU failed to provide
                                                                                                                28 any security to the Softball Team until their next home game on February 17, 2020.


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                        29
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 30 of 63 Page ID #:30




                                                                                                                 1 Instead, CLU went so far as to state that the threats of physical violence to the Softball
                                                                                                                 2 Team’s safety were mere criticisms. See February 10, 2020 email at Exhibit “3.” And,
                                                                                                                 3 during this ineffective token attempt at providing additional security at said home game,
                                                                                                                 4 the Softball Team’s locker room was burglarized while the Softball Team was on the
                                                                                                                 5 softball field playing a game, and their personal possessions were stolen.
                                                                                                                 6 112. Plaintiffs are informed and believe that in order to show Defendants’ hypocrisy,
                                                                                                                 7 pictures surfaced on Twitter that Defendant Kimball had proudly posted on his CLU
                                                                                                                 8 social media page. The pictures were of a CLU administrator dressing as Bob Marley,
                                                                                                                 9 with actual “Blackface” makeup and wig and imitation illegal narcotics, all of which
                                                                                                                10 squarely fit CLU’s newly-minted definition of “Blackface.”
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                13
                                                                                                                14
                                                                                                                15
                                                                                                                16
                                                                                                                17
                                                                                                                18
                                                                                                                19
                                                                                                                20
                                                                                                                21
                                                                                                                22
                                                                                                                23
                                                                                                                24
                                                                                                                25 113. Plaintiffs are informed and believe that in response, on or about February 13, 2020,
                                                                                                                26 Defendant Doherty made Defendant Kimball publicly apologize for said postings to the
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     30
                                                                                                                                                           COMPLAINT
                                                                                                                          Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 31 of 63 Page ID #:31




                                                                                                                 1 entire CLU community in the Chapel.25 Members of the Softball Team recorded this
                                                                                                                 2 public meeting, which quickly deteriorated into an open forum of both students and
                                                                                                                 3 faculty demanding that the Softball Team be expelled due to the false information
                                                                                                                 4 Defendants continued to maliciously publish about them. Of particular note, Defendant
                                                                                                                 5 Kimball confirmed his and CLU’s racist bias against the Softball Team, and CLU’s racist
                                                                                                                 6 policies regarding the Softball Team’s ability to perform songs by African-American
                                                                                                                 7 artists, when he announced at said meeting that he regrets not telling the employee that
                                                                                                                 8 white people have no right to dress like Bob Marley. It is also of note that Defendant
                                                                                                                 9 Kimball falsely stated at said meeting to the CLU community that Plaintiffs were being
                                                                                                                10 disciplined.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 114. As a direct result of the poisoned atmosphere Defendants had unnecessarily created
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 on campus against the members of the CLU Softball program, countless numbers of
                                                                                                                13 students continued to attack and harass the Softball Team on social media. One such
                                                                                                                14 student was a Senior ASCLU student Senator that wrote: “@regals softball @callutheran
                                                                                                                15 O-M-[Statue of God]. Will you acknowledge those affected. yt voices with instagram
                                                                                                                16 accounts ARE NOT ‘being silenced.’”
                                                                                                                17 115. Plaintiffs are informed and believe that this post appears to be in response to one
                                                                                                                18 of the softball team member’s statements at Defendant Kimball’s Chapel meeting. Said
                                                                                                                19 student addressed said message to the entire “regal” (the official name of the softball
                                                                                                                20 team) Softball program. The message is racially motivated in origin, as it refers to “yt
                                                                                                                21 voices with instagram accounts.” “yt” is slang for “whitey,” which is a racially
                                                                                                                22 derogatory term for Caucasians. Therefore, the message is directly aimed at a certain
                                                                                                                23 group of people based on the color of their skin.
                                                                                                                24 116. Plaintiffs are informed and believe that the purpose, and most certainly the effect,
                                                                                                                25 of the message was to racially harass and bully the members of the Softball program.
                                                                                                                26
                                                                                                                27   25
                                                                                                                      See News Story at          https://www.kclu.org/post/more-controversy-south-coast-
                                                                                                                28 university-over-racism-concerns#stream/0


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      31
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 32 of 63 Page ID #:32




                                                                                                                 1 117. Plaintiffs are informed and believe that the posting, its message, and its effect,
                                                                                                                 2 derives from “unwelcome behavior that…fails to respect the rights of others” (i.e.,
                                                                                                                 3 including the right to protest one’s innocence), and “interferes with work, learning, living
                                                                                                                 4 or campus environment.” It constitutes a “threat to the well-being of a person or a group,
                                                                                                                 5 which is derived from a written communication through a computer [ ] or by any other
                                                                                                                 6 means of communication.” It therefore constitutes an inappropriate posting on social
                                                                                                                 7 media sites or other applications and graphic commentaries as identified in Section 17.1b
                                                                                                                 8 of the CLU Student Handbook (“Handbook”).
                                                                                                                 9 118. Plaintiffs are informed and believe that said posting also appears to be a Hate
                                                                                                                10 Incident and a Hate Crime under Section 18.0 of the Handbook, as it is harassment
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 directed to members of the University's community based on race and color, and it
                                                                                                                12 otherwise constitutes “any act that has the purposes or effect of unreasonably or
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 substantially interfering with an individual’s safety and security by creating a(n)
                                                                                                                14 intimidating, hostile, discriminatory, or offensive education or working environment,”
                                                                                                                15 which the University has promised its students “will not be tolerated.”
                                                                                                                16 119. Plaintiffs are informed and believe that the subject post constitutes a Hate Crime
                                                                                                                17 under Section 18.1 of the Handbook, in that it is an offense “motivated by hatred against
                                                                                                                18 a victim or a group of victims based on their actual or perceived race,” and is reportable
                                                                                                                19 as intimidation under the Clery Act. Such conduct is an offense that may result in
                                                                                                                20 suspension/dismissal from the University.
                                                                                                                21 120. Plaintiffs are informed and believe that the subject post also constitutes a Hate
                                                                                                                22 Incident under Section 18.2 of the Handbook, which is “broadly defined as acts which
                                                                                                                23 threaten a person’s sense of belonging, dignity, emotional and/or physical well-being.”
                                                                                                                24 121. Plaintiffs are informed and believe that countless others would not have directed
                                                                                                                25 their venom toward the Softball Team players and coaches but for the egregiously
                                                                                                                26 wrongful actions of Defendants. Defendants, through their extremely reckless and grossly
                                                                                                                27 negligent conduct, have fostered and maintained a racially toxic environment on campus
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      32
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 33 of 63 Page ID #:33




                                                                                                                 1 that has directly and proximately caused these postings, and many other postings of a
                                                                                                                 2 similar nature, to be directed at Plaintiffs.
                                                                                                                 3 122. As a direct result of such conduct, in or about February 2020, the Softball Team
                                                                                                                 4 filed an Internal Student Grievance Complaint against several students and Defendant
                                                                                                                 5 Kimball with the CLU administration. Plaintiffs are informed and believe that CLU
                                                                                                                 6 opened an investigation into said Internal Student Grievance Complaints approximately
                                                                                                                 7 a month later in mid-March 2020. The players and the coaches of the Softball Team were
                                                                                                                 8 then interviewed in mid to late March 2020 by an investigator hired by Defendants.
                                                                                                                 9 Plaintiffs are informed and believe that CLU waited until late into the following fall
                                                                                                                10 semester to inform Plaintiffs that CLU closed said investigation finding no violations of
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 the Handbook.
                                                                                                                         G. CLU’S CONTINUED CAMPUS-WIDE PUBLIC SHAMING OF THE
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                13           SOFTBALL TEAM AND REFUSAL TO PROVIDE THE SOFTBALL
                                                                                                                14           TEAM REQUESTED PROFESSIONAL MENTAL HEALTH SERVICES.
                                                                                                                15 123. On or about February 24, 2020, Defendants made it mandatory that the members
                                                                                                                16 of the Softball Program attend another meeting featuring guest speaker Dr. Shaun Harper
                                                                                                                17 from the University of Southern California’s Race and Equity Center. The stated purpose
                                                                                                                18 of the meeting was to discuss the topic of “inclusion” with the entire CLU community.
                                                                                                                19 However, the topic of “inclusion” was barely discussed. Rather, the meeting actually
                                                                                                                20 became another vehicle for Plaintiffs to be publicly shamed and ridiculed.
                                                                                                                21 124. Plaintiffs are informed and believe that Defendant Doherty had reserved seats in
                                                                                                                22 the gym for the Softball Team to sit up front and center so that the CLU community could
                                                                                                                23 see that they were the focus of the meeting. All other students attending were allowed to
                                                                                                                24 sit wherever, and with whomever, they wished. Dr. Harper then allowed both students
                                                                                                                25 and faculty to get up and otherwise chastise and malign the Softball Team in front of the
                                                                                                                26 CLU community. At one point, Dr. Harper joined in the public ridiculing of the Softball
                                                                                                                27 Team by adopting the statement that the Softball Team was obviously guilty of racism
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       33
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 34 of 63 Page ID #:34




                                                                                                                 1 because they hired a lawyer to represent their interests, and only guilty people hire
                                                                                                                 2 lawyers.
                                                                                                                 3 125. At this point, Plaintiffs’ counsel expressly informed CLU’s counsel that the
                                                                                                                 4 Softball Team would not be attending any further meetings due to the fact that said
                                                                                                                 5 meetings were interfering with the Softball Team’s school work and degrading their
                                                                                                                 6 mental health. Despite this admonition, on or about February 26, 2020, Defendant
                                                                                                                 7 Doherty again attempted to single out the Softball Team and make them attend several
                                                                                                                 8 more hours of meetings related to the “Blackface” incident. In declining to attend any
                                                                                                                 9 further meetings, one of the Softball Team players responded to Defendant Doherty:
                                                                                                                10           “you should be aware that the members of the softball team need
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11           professional mental health help instead of poems, trees and rocks. The
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12           damage inflicted by the university on all of the team is deep and traumatic.
                                                                                                                13           If the university is truly trying to look out for our welfare, your time would
                                                                                                                14           be better spent making such arrangements.”
                                                                                                                15 126. In addition to requesting professional mental health help in writing, Plaintiffs
                                                                                                                16 prepared and provided to CLU individual impact statements from each of the players and
                                                                                                                17 coaches. Said statements reveal the extreme emotional distress they have suffered as a
                                                                                                                18 result of the discriminatory harassment and treatment memorialized herein26
                                                                                                                19
                                                                                                                20
                                                                                                                21
                                                                                                                      26
                                                                                                                        Said impact statements included the following descriptions of the effect Defendants’
                                                                                                                      conduct has personally had on them:
                                                                                                                22        “Constant anxiety…feelings of panic... hoping that this will not be a forever
                                                                                                                23    medication”
                                                                                                                          “…Anxiety and depression…lack of sleep…lonely and emotionally weak…
                                                                                                                24
                                                                                                                      emotionally unstable. The community never knew what actual [sic] happened, so I
                                                                                                                25    constantly felt like I had to fix my broken reputation by explaining myself and what
                                                                                                                26    actually happened”
                                                                                                                          “The accusations of racism that came from this were never apparent to any of us,
                                                                                                                27    including our black coach…This nausea turned to anxiety, which stayed with me for days
                                                                                                                28    and days as this ordeal trudged on… uncomfortable and full of anxiety... unable to focus


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        34
                                                                                                                                                              COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 35 of 63 Page ID #:35




                                                                                                                1
                                                                                                                     127. Further review of the statements show that a majority of Plaintiffs suffered in a
                                                                                                                2
                                                                                                                     similar manner: They have vomited, cried uncontrollably, lost sleep, lost weight, have
                                                                                                                3
                                                                                                                     been unable to focus on their studies, and have been made to feel isolated. Additionally,
                                                                                                                4
                                                                                                                     most of the Softball Players have stated that they are now on medication for their
                                                                                                                5
                                                                                                                     depression, anxiety, and PTSD, and that some otherwise submitted themselves to the care
                                                                                                                6
                                                                                                                     of medical professionals as a direct result of Defendants’ conduct.
                                                                                                                7
                                                                                                                         H. ADDITIONAL EMPLOYMENT ISSUES REGARDING THE COACHES
                                                                                                                8
                                                                                                                     128. As a result of the Defendants’ false “Blackface” narrative, all three softball coaches
                                                                                                                9
                                                                                                                     suffered damages to their reputation and wellbeing.
                                                                                                                10
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP




                                                                                                                     129. Defendants caused a hostile work environment for the coaches and caused the
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11
                                                                                                                     coaches to suffer damages resulting from being directly and/or indirectly publicly
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                     ridiculed in front of students and peers, being publicly placed on administrative leave,
                                                                                                                13
                                                                                                                     being made to feel anxious from the threats of physical harm being made to members of
                                                                                                                14
                                                                                                                15
                                                                                                                      … anxiety grew, as fear of my future at work and future career stared me in the face…
                                                                                                                16    emotionally drained.”
                                                                                                                17         “…emotional and mental trauma… crippling anxiety that made it impossible for
                                                                                                                18
                                                                                                                      me to do everyday things and carry on with my life... intense anxiety that caused me to
                                                                                                                      lose my appetite for entire days and then overindulge in food and binge. I couldn't not
                                                                                                                19    [sic] sleep at night, I would wake up with night terrors… of deep sadness and lack of
                                                                                                                20    motivation… makes me sick to my stomach… extremely nauseous...”
                                                                                                                           “I’ve never felt so targeted in my life.”
                                                                                                                21
                                                                                                                           “Made me sick to my stomach…I could not sleep… I felt attacked.”
                                                                                                                22         “Felt very blindsided…I didn’t have an appetite…I burst into tears… I would cry
                                                                                                                23    silently in the bathroom.”
                                                                                                                           “I became distraught… I had an extreme loss of appetite as well as sleep. I was
                                                                                                                24    unable to focus on any of my classes... My depression and anxiety flared.”
                                                                                                                25         “I was lethargic and I couldn’t focus for more than 10 minutes at a time on
                                                                                                                26
                                                                                                                      school work… depression set in… This experience has caused me to feel anxiety,
                                                                                                                      embarrassment, depression, anger, sadness, exhaustion, unfocused, and just emotionally
                                                                                                                27    drained. It has turned me into a person I don’t recognize. I feel as if I’ve been existing
                                                                                                                28    outside of my body and that I’m not living my life as I’ve known it.”


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       35
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 36 of 63 Page ID #:36




                                                                                                                 1 the CLU Softball Program, and Defendants refusing to provide any additional security to
                                                                                                                 2 Plaintiffs during practice for over a week.
                                                                                                                 3 130. Defendants’ creation of a hostile work environment has resulted in substantial
                                                                                                                 4 emotional distress to the coaches, including causing substantial fear, anxiety, or emotional
                                                                                                                 5 torment.
                                                                                                                 6 131. Defendants’ conduct has resulted in severe emotional distress, which has resulted
                                                                                                                 7 in physical manifestations including, but not limited to: loss of sleep; anxiety; depression;
                                                                                                                 8 nausea; loss of appetite; loss of weight; fear; sense of helplessness; and despair.
                                                                                                                 9 132. Coach Young and Coach Gluckman have sought other employment due to the
                                                                                                                10 intense harassment, defamation, and hostile work environment perpetuated by
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 Defendants.
                                                                                                                         I. EXHAUSTION OF ADMINISTRATIVE PROCEDURE
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12
                                                                                                                13 133. All legal prerequisites for proceeding with the claims contained in this complaint
                                                                                                                14 have been met.
                                                                                                                15 134. On or about August 3, 2021, Coach Day, through counsel, sent a letter to the Labor
                                                                                                                16 Workforce Development Agency and Defendants outlining claims pursuant to the Private
                                                                                                                17 Attorney General Act (“PAGA”). The LWDA has not responded to the letter, and thus
                                                                                                                18 Coach Day may proceed with the PAGA claims outlined below.
                                                                                                                19 135. Coach Day, Coach Young, and Coach Gluckman have all received a “Right to Sue”
                                                                                                                20 letter from the Department of Fair Employment and Housing of the State of California
                                                                                                                21 authorizing their claims against Defendants stated herein.
                                                                                                                22                                FIRST CAUSE OF ACTION
                                                                                                                23                                 BREACH OF CONTRACT
                                                                                                                24            DOES 1 THROUGH 24 AGAINST CLU and ROES 1 THROUGH 20
                                                                                                                25 136. Plaintiffs hereby incorporate by reference each and every allegation contained in
                                                                                                                26 paragraphs 1 through 135 of this Complaint as though fully set forth herein.
                                                                                                                27 137. Plaintiffs are informed and believe that CLU and ROES 1 through 20 (collectively
                                                                                                                28 “Contract Defendants”) entered into written contractual agreements with DOES 1-24


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      36
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 37 of 63 Page ID #:37




                                                                                                                 1 whereby the Parties agreed to adhere to the Student Handbook (the “Handbook”), relevant
                                                                                                                 2 portions of which are incorporated herein.
                                                                                                                 3 138. Plaintiffs are informed and believe that the 2019-2020 Student Handbook
                                                                                                                 4 (“Handbook”) is one of the primary documents that spells out the contractual relationship
                                                                                                                 5 between Contract Defendants and DOES 1-24. A contract was initially formed when
                                                                                                                 6 Contract Defendants accepted the students and when the students submitted their initial
                                                                                                                 7 payment to attend CLU.
                                                                                                                 8 139. Plaintiffs are informed and believe that Page 3 of the Handbook specifies:
                                                                                                                 9 “Students accept the following policies and agree to be bound thereby upon admission,
                                                                                                                10 readmission, or continued enrollment with California Lutheran University. Any student
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 is bound to follow all of the University’s policies and procedures and is subject to the
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 jurisdiction of the University with regard to violations of such policies and procedures.
                                                                                                                13 California Lutheran University students who fail to read this handbook will not be
                                                                                                                14 excused from compliance with policies and procedures.”
                                                                                                                15 140. Plaintiffs are informed and believe that Contract Defendants entered into a contract
                                                                                                                16 with DOES 1-24 to attend CLU and play softball for CLU in exchange for DOES 1-24
                                                                                                                17 enrolling in CLU and paying tuition. Included in the terms of that agreement was that all
                                                                                                                18 parties would abide by, and conduct themselves in accordance with, the terms in the
                                                                                                                19 Handbook and the Code of Conduct therein. When Contract Defendants violated the
                                                                                                                20 Handbook Code of Conduct, it breached its contract with DOES 1-24.
                                                                                                                21 141. Plaintiffs are informed and believe that the CLU Code of Conduct at all relevant
                                                                                                                22 times specified in relevant part:
                                                                                                                23
                                                                                                                24           17.0 Student Harassment and Bullying

                                                                                                                25           “The University seeks to create and maintain an academic environment in
                                                                                                                26           which all members of the community are free from harassment and bullying
                                                                                                                             based on sex, race … color, .… harassment compromises the integrity of a
                                                                                                                27
                                                                                                                             liberal arts education, because it makes the learning and working
                                                                                                                28           environment hostile, intimidating and offensive; it destroys opportunities


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       37
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 38 of 63 Page ID #:38




                                                                                                                1            for students to develop a strong, positive self-concept and the sense of self-
                                                                                                                             confidence which is essential to living out the ideals of a liberal arts
                                                                                                                2            education. In addition, persons who harass others compromise their own
                                                                                                                3            integrity and credibility. Consequently, no form of harassment will be
                                                                                                                             tolerated at California Lutheran University.”
                                                                                                                4
                                                                                                                5            “17.1 Harassment: Harassment refers to unwelcome behavior that is
                                                                                                                6
                                                                                                                             offensive, fails to respect the rights of others, and interferes with work,
                                                                                                                             learning, living or campus environment. Harassment includes intimidation,
                                                                                                                7            invasion of privacy, or any threat to the well-being of a person or a group
                                                                                                                8            which is communicated verbally, in writing, or through contact by
                                                                                                                             telephone, computer, a third party, or by any other means of
                                                                                                                9            communication. Forms of harassment include, but are not limited to: ...
                                                                                                                10           postings on social media sites or other applications.”
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11      18.0 Hate Crime Harassment directed to members of the University's
                                                                                                                        community based on race and color, and it otherwise constitutes “any act
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12      that has the purposes or effect of unreasonably or substantially interfering
                                                                                                                        with an individual’s safety and security by creating a(n) intimidating,
                                                                                                                13      hostile, discriminatory, or offensive education or working environment,”
                                                                                                                14
                                                                                                                        which the University has promised its students “will not be tolerated.”
                                                                                                                   142. On or about February 14, 2020, the Softball Team filed an Internal Student
                                                                                                                15
                                                                                                                     Grievance Complaint against a student and Defendant Kimball with the CLU
                                                                                                                16
                                                                                                                     administration. Additionally, on or about February 15, 2020, the Softball Team filed an
                                                                                                                17
                                                                                                                     Internal Student Grievance Complaint against another student and Defendant Kimball
                                                                                                                18
                                                                                                                     with the CLU administration. Plaintiffs are informed and believe that Contract Defendants
                                                                                                                19
                                                                                                                     opened an investigation into said Internal Student Grievance Complaints approximately
                                                                                                                20
                                                                                                                     a month later.
                                                                                                                21
                                                                                                                     143. Plaintiffs are informed and believe that the subject post by one of the students that
                                                                                                                22
                                                                                                                     used a racial slur directed at the Softball Team constituted a Hate Crime under Section
                                                                                                                23
                                                                                                                     18.1 of the Handbook, in that it is an offense “motivated by hatred against a victim or a
                                                                                                                24
                                                                                                                     group of victims based on their actual or perceived race,” and is reportable as intimidation
                                                                                                                25
                                                                                                                     under the Clery Act. Such conduct is an offense that may result in suspension/dismissal
                                                                                                                26
                                                                                                                     from the University.
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                         38
                                                                                                                                                               COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 39 of 63 Page ID #:39




                                                                                                                 1 144. Plaintiffs are informed and believe that the subject post also constitutes a Hate
                                                                                                                 2 Incident under Section 18.2 of the Handbook, which is “broadly defined as acts which
                                                                                                                 3 threaten a person’s sense of belonging, dignity, emotional and/or physical well-being.”
                                                                                                                 4 145. Plaintiffs are informed and believe that, in addition, it is abundantly clear that said
                                                                                                                 5 student and countless others would not have directed their venom toward the Softball
                                                                                                                 6 Team but for the egregiously wrongful actions of Defendants. Defendants, through their
                                                                                                                 7 extremely reckless and grossly negligent conduct, have fostered and maintained a racially
                                                                                                                 8 toxic environment on campus that has directly and proximately caused these postings, and
                                                                                                                 9 many other postings of a similar nature, to be directed at the Softball Team.
                                                                                                                10 146. Plaintiffs are informed and believe that Contract Defendants breached its contract
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 to DOES 1-24 by engaging in harassing behavior in violation of the terms of the
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 Handbook, and otherwise letting others violate the Handbook with regard to conduct
                                                                                                                13 directed at the Softball Team.
                                                                                                                14 147. Plaintiffs are informed and believe that by Defendants engaging in the conduct set
                                                                                                                15 forth above, including cyberbullying and perpetuating falsehoods in an effort to harm
                                                                                                                16 Plaintiffs, Plaintiffs did not receive the benefits of their bargain. As such, Contract
                                                                                                                17 Defendants should pay an amount sufficient to restore each Plaintiffs to their position but
                                                                                                                18 for Defendants’ breach.
                                                                                                                19 148. Plaintiffs are informed and believe that DOES 1-24 performed all conditions,
                                                                                                                20 covenants, and promises required of them to be performed in accordance with the terms
                                                                                                                21 of the Handbook, except for those provisions they have been prevented by Contract
                                                                                                                22 Defendants from performing or which otherwise have been excused.
                                                                                                                23 149. Plaintiffs are informed and believe that Contract Defendants breached the terms of
                                                                                                                24 the Handbook by allowing unjustified violations of the Handbook, which included, but
                                                                                                                25 were not limited to: permitting hate crimes and harassment on campus; permitting
                                                                                                                26 cyberbullying; de facto punishing DOES 1-24 without affording them the right to due
                                                                                                                27 process, as required by the Handbook; and failing to timely investigate complaints, as
                                                                                                                28 required by the Handbook.


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                       39
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 40 of 63 Page ID #:40




                                                                                                                 1 150. Plaintiffs are informed and believe that Contract Defendants’ breaches of contract
                                                                                                                 2 caused harm to Plaintiffs. Such harm includes the fact that some of DOES 1-24 will not
                                                                                                                 3 obtain a degree from CLU, which was the reason that they entered into a contract with
                                                                                                                 4 Contract Defendants in the first place and paid approximately $66,000 per year over the
                                                                                                                 5 past four (4) years. DOES 1-24 seek reimbursement of some or all of their tuition and fees
                                                                                                                 6 paid to Contract Defendants, in an amount to be proven at trial.
                                                                                                                 7 151. Plaintiffs are informed and believe that Contract Defendants’ breaches of contract
                                                                                                                 8 forced some of Plaintiffs to transfer to other universities, at a cost to be proven at trial,
                                                                                                                 9 but is estimated to exceed $66,000 per Plaintiff that transferred away from CLU.
                                                                                                                10 152. Contract Defendants’ conduct in breaching the contract was a substantial factor in
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 causing DOES 1-24 harm. As a direct, foreseeable and proximate result of Contract
                                                                                                                12 Defendants’ breach of the implied covenant, DOES 1-24 have suffered and sustained
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 damages in an amount according to proof.
                                                                                                                14                              SECOND CAUSE OF ACTION
                                                                                                                15                                          SLANDER
                                                                                                                16                    DOES 1 THROUGH 24 AGAINST ALL DEFENDANTS
                                                                                                                17                                and ROES 21 THROUGH 40
                                                                                                                18 153. Plaintiffs hereby incorporate by reference each and every allegation contained in
                                                                                                                19 preceding paragraphs 1 through 152 of this Complaint as though fully set forth herein.
                                                                                                                20 154. Plaintiffs are informed and believe that numerous false oral statements have been
                                                                                                                21 made in and around campus concerning the Softball Team. These statements were made
                                                                                                                22 in open forums by CLU representatives Defendants Kimball, Doherty, McHugh, and
                                                                                                                23 ROES 21-40 (Collectively “Slander Defendants”).
                                                                                                                24 155. Plaintiffs are informed and believe that numerous false oral statements were made
                                                                                                                25 about the Softball Team, even though only DOES 1through 5 participated in the lip-sync
                                                                                                                26 event.
                                                                                                                27
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      40
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 41 of 63 Page ID #:41




                                                                                                                 1 156. Plaintiffs are informed and believe that these statements have caused great harm to
                                                                                                                 2 Plaintiffs. These include statements uttered in open forums, including, but not limited to
                                                                                                                 3 a February 8, 2020 meeting and a February 13, 2020 campus open forum meeting.
                                                                                                                 4 157. Plaintiffs are informed and believe that Slander Defendants’ statements were made
                                                                                                                 5 within the scope of his/her/their employment with CLU and is/are attributable to CLU.
                                                                                                                 6 158. Plaintiffs are informed and believe that the Slander Defendants’ aforementioned
                                                                                                                 7 statements about the Softball Team was/were unprivileged, and false. The Slander
                                                                                                                 8 Defendants were obligated not to publicly make any statements about the subject event,
                                                                                                                 9 as to do so could constitute a FERPA violation under the circumstances since the
                                                                                                                10 recipients of said statements knew to whom they referred.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 159. Plaintiffs are informed and believe that the Slander Defendants knew or should
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 have known that his/her/their statements were false, especially since the Slander
                                                                                                                13 Defendants had prior notice of the falsity of the statements before they were made.
                                                                                                                14 160. Plaintiffs are informed and believe that the Slander Defendants failed to use
                                                                                                                15 reasonable care and took no reasonable steps to determine whether their statements were
                                                                                                                16 true or false.
                                                                                                                17 161. Plaintiffs are informed and believe that the nature of the statements made by the
                                                                                                                18 Slander Defendants is so defamatory that referral to extrinsic material is unnecessary to
                                                                                                                19 determine their defamatory meaning and/or effect. As such, the Slander Defendants’
                                                                                                                20 statements pertaining to the Softball Team are slander per se.
                                                                                                                21 162. As a direct and proximate result of the Slander Defendants’ statements, DOES 1-
                                                                                                                22 24 have been injured, including, but not limited to, injury to their reputations, as well as
                                                                                                                23 injury to their emotional health, well-being, and personal relationships, as discussed
                                                                                                                24 above. These statements also directly injured DOES 1-24 in their occupation as students
                                                                                                                25 and as athletes.
                                                                                                                26 163. As a direct and proximate result of the Slander Defendants’ statements, DOES 1-
                                                                                                                27 24 have incurred special damages that include, but are not limited to, the costs associated
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      41
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 42 of 63 Page ID #:42




                                                                                                                 1 with seeking mental health help to address the harm caused by virtue of Slander
                                                                                                                 2 Defendants’ misconduct.
                                                                                                                 3 164. Plaintiffs are informed and believe that the Slander Defendants made said false
                                                                                                                 4 statements about and/or concerning DOES 1-24 with malice, oppression, and/or fraud,
                                                                                                                 5 and intended to injure and damage DOES 1-24 with the false statements, which warrants
                                                                                                                 6 an award of punitive damages.
                                                                                                                 7 165. Plaintiffs are informed and believe that, as a direct and proximate result of the
                                                                                                                 8 conduct of Slander Defendants as stated herein, DOES 1-24 have been damaged in an
                                                                                                                 9 amount to be proven at trial, but which is otherwise expected to exceed collectively
                                                                                                                10 $80,000,000.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 166. Plaintiffs are informed and believe that, in doing the acts alleged herein, Slander
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 Defendants acted with oppression, fraud, malice, and in total disregard of the Softball
                                                                                                                13 Team’s rights. As such, DOES 1-24 are entitled to exemplary damages in an amount
                                                                                                                14 designed to deter such behavior in the future.
                                                                                                                15                              THIRD CAUSE OF ACTION
                                                                                                                16                                          LIBEL
                                                                                                                17              DOES 1 THROUGH 24 AGAINST CLU, KIMBALL DOHERTY,
                                                                                                                18                               and ROES 41 THROUGH 60
                                                                                                                19 167. Plaintiffs hereby incorporate by reference each and every allegation contained in
                                                                                                                20 preceding paragraphs 1 through 166 of this Complaint as though fully set forth herein.
                                                                                                                21 168. Plaintiffs are informed and believe that written defamatory matter was published
                                                                                                                22 to thousands of members of the CLU community in at least two emails by Defendant
                                                                                                                23 Kimball and Defendant Doherty and Roes 41 through 60 on behalf of the CLU
                                                                                                                24 administration (Collectively “Libel Defendants”); to wit, the February 5, 2020 email and
                                                                                                                25 February 10, 2020 email. The statements in these emails were then republished by various
                                                                                                                26 news agencies, including national news agencies, as well as thousands of social media
                                                                                                                27 posts.
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     42
                                                                                                                                                           COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 43 of 63 Page ID #:43




                                                                                                                 1 169. Plaintiffs are informed and believe that the statements made by the Libel
                                                                                                                 2 Defendants in said emails pertaining to DOES 1-24 were false, including those that
                                                                                                                 3 expressly state that CLU student athletes engaged in “Blackface” and engaged in
                                                                                                                 4 “Blackface” performances. The truth is that there never was an incident involving student
                                                                                                                 5 athletes engaging in “Blackface,” let alone in several “Blackface” performances, under
                                                                                                                 6 the generally understood definition of the term “Blackface.”
                                                                                                                 7 170. Plaintiffs are informed and believe that the entire CLU student body and faculty,
                                                                                                                 8 and eventually the world, understood that said emails and “Blackface” statements were
                                                                                                                 9 referring to the Softball Team, a small group of 24 girls. Further, immediately after the
                                                                                                                10 publication of the February 5th email, members of the Softball Team were contacted by
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 various media sources and reporters seeking information as to the statements made
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 therein, and members of student government were posting on social media that they knew
                                                                                                                13 for certain that the Libel Defendants were referring to the Softball Team in said email.
                                                                                                                14 Additionally, the Softball Team expressly informed the Libel Defendants that they were
                                                                                                                15 receiving harmful threats because it was generally understood that the Libel Defendants
                                                                                                                16 were speaking about DOES 1-24 in their February 5th email. As such, the statements
                                                                                                                17 therein were defamatory on their face as applied to a small group of players and coaches
                                                                                                                18 that constitute the members of the CLU Softball Program.
                                                                                                                19 171. Plaintiffs are informed and believe that readers of these publications reasonably
                                                                                                                20 understood, without resort to any extrinsic material or explanatory information, that Libel
                                                                                                                21 Defendants meant that the Softball Team intentionally engaged in harmful racial
                                                                                                                22 misconduct, including “blackface” performances. As such, it was generally understood
                                                                                                                23 by the public receiving said emails that the Softball Team as whole had applied paint to
                                                                                                                24 their faces in order to create offensive caricatures of African-Americans. These
                                                                                                                25 statements directly injured DOES 1-24 in their occupation as students and as athletes.
                                                                                                                26 172. Plaintiffs are informed and believe that readers of various publications reasonably
                                                                                                                27 understood, without resort to any extrinsic material or explanatory information, that
                                                                                                                28 statements regarding the use of “blackface” were of and concerned the Softball Team.


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                      43
                                                                                                                                                           COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 44 of 63 Page ID #:44




                                                                                                                 1 173. Plaintiffs are informed and believe that readers of various publications reasonably
                                                                                                                 2 understood, without resort to any extrinsic material or explanatory information, that the
                                                                                                                 3 Libel Defendants’ statements meant that the Softball Team had engaged in “blackface,”
                                                                                                                 4 meaning that DOES 1-24 had collectively applied paint to their faces in order to create
                                                                                                                 5 offensive caricatures of African-Americans.
                                                                                                                 6 174. Plaintiffs are informed and believe that the Libel Defendants’ aforementioned
                                                                                                                 7 written statements about the Softball Team were unprivileged and false. The Libel
                                                                                                                 8 Defendants were obligated not to publicly make any statements about the subject event,
                                                                                                                 9 as to do so could constitute a FERPA violation under the circumstances.
                                                                                                                10 175. Plaintiffs are informed and believe that Libel Defendants knew or should have
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 known that the statements pertaining to the Softball Team in said emails were maliciously
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 false, especially because the Libel Defendants had been directly informed of the falsity
                                                                                                                13 of their statements before they were made yet continued to publicly broadcast said
                                                                                                                14 statements to thousands in any event.
                                                                                                                15 176. Plaintiffs are informed and believe that Libel Defendants took no reasonable steps
                                                                                                                16 to determine whether the statements they broadcasted referring to DOES 1-24 were true.
                                                                                                                17 Had Libel Defendants exercised reasonable, or even minimal, care to investigate the
                                                                                                                18 circumstances giving rise to the photographs, they would have learned the falsity of their
                                                                                                                19 statements.
                                                                                                                20 177. Plaintiffs are informed and believe that the nature of the statements made by the
                                                                                                                21 Libel Defendants is so defamatory that referral to extrinsic material is unnecessary to
                                                                                                                22 determine their defamatory meaning and/or effect. As such, the Libel Defendants’
                                                                                                                23 statements pertaining to the Softball Team are libel per se.
                                                                                                                24 178. Plaintiffs are informed and believe that as a direct and proximate result of the
                                                                                                                25 conduct of Libel Defendants described herein, DOES 1-24 have been shunned, avoided,
                                                                                                                26 and/or injured in their occupation as students and athletes.
                                                                                                                27 179. Plaintiffs are informed and believe that, as a direct and proximate result of the
                                                                                                                28 conduct of Libel Defendants as stated herein, DOES 1-24 have been damaged in an


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                      44
                                                                                                                                                           COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 45 of 63 Page ID #:45




                                                                                                                 1 amount to be proven at trial, but which otherwise is expected to collectively exceed
                                                                                                                 2 $80,000,000.
                                                                                                                 3 180. Plaintiffs are informed and believe that, in doing the acts alleged herein, Libel
                                                                                                                 4 Defendants acted with oppression, fraud, malice, and in total disregard of the Softball
                                                                                                                 5 Team’s rights. As such, DOES 1-24 are entitled to exemplary damages in an amount
                                                                                                                 6 designed to deter such behavior in the future.
                                                                                                                 7                               FOURTH CAUSE OF ACTION
                                                                                                                 8                                        FALSE LIGHT
                                                                                                                 9                        ALL PLAINTIFFS AGAINST ALL DEFENDANTS
                                                                                                                10                                and ROES 61 THROUGH 80
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 181. Plaintiffs hereby incorporate by reference each and every allegation contained in
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 preceding paragraphs 1 through 180 of this Complaint as though fully set forth herein.
                                                                                                                13 182. Plaintiffs are informed and believe that named Defendants and ROES 61 through
                                                                                                                14 80 (Collectively “False Light Defendants”) have made numerous false statements
                                                                                                                15 regarding Plaintiffs, which have depicted Plaintiffs in a false light in the public eye. These
                                                                                                                16 statements include, but are not limited to, statements that made it seem that all of the
                                                                                                                17 Plaintiffs had engaged in, or otherwise allowed there to be, “blackface” performances
                                                                                                                18 that were orchestrated and/or promoted and/or tolerated by Plaintiffs, and that the Softball
                                                                                                                19 Team had collectively applied paint to their faces in order to specifically create offensive
                                                                                                                20 comedic caricatures of African-Americans.
                                                                                                                21 183. The publicity created by False Light Defendants was offensive and objectionable
                                                                                                                22 to Plaintiffs and to a reasonable person of ordinary sensibilities.
                                                                                                                23 184. The publicity created by False Light Defendants was done with gross negligence,
                                                                                                                24 oppression, fraud, and/or malice in that it was made either with knowledge of its falsity
                                                                                                                25 or in reckless disregard of its truth in that the statements depicting Plaintiffs were
                                                                                                                26 calculated falsehoods because False Light Defendants knew the statements to be false at
                                                                                                                27 the time the statements were made. For instance, Defendant Kimball knew that there was
                                                                                                                28 no “Blackface” incident before he confirmed to news outlets that there was a “Blackface”


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                       45
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 46 of 63 Page ID #:46




                                                                                                                 1 incident and saying that those who were responsible would be held accountable.
                                                                                                                 2 Nonetheless, said Defendants proceeded with the publication of false facts to portray
                                                                                                                 3 Plaintiffs in a false light.
                                                                                                                 4 185. As a proximate result of the above-mentioned disclosure and depictions, Plaintiffs
                                                                                                                 5 suffered general damages in an amount according to proof. Plaintiffs are informed and
                                                                                                                 6 believe that, as a direct and proximate result of the conduct of False Light Defendants as
                                                                                                                 7 stated herein, Plaintiffs have been damaged in an amount to be proven at trial, but which
                                                                                                                 8 is otherwise is expected to exceed $100,000,000.
                                                                                                                 9 186. Plaintiffs are informed and believe that, in doing the acts alleged herein, False
                                                                                                                10 Light Defendants acted with oppression, fraud, malice, and in total disregard of Plaintiffs’
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 rights. As such, Plaintiffs are entitled to exemplary damages in an amount designed to
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 deter such behavior in the future.
                                                                                                                13 187. Plaintiffs believe that False Light Defendants will continue disclosing the above
                                                                                                                14 information. Unless and until enjoined and restrained by order of this court, and otherwise
                                                                                                                15 ordered to retract their statements, False Light Defendants’ will continue publication of
                                                                                                                16 their lies, which will in turn continue to cause Plaintiffs great and irreparable lifelong
                                                                                                                17 injuries. Plaintiffs have no adequate remedy at law for the injuries being suffered in that
                                                                                                                18 a judgment for monetary damages will be inadequate.
                                                                                                                19                                FIFTH CAUSE OF ACTION
                                                                                                                20                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                                                                                                21                    DOES 1 THROUGH 24 AGAINST ALL DEFENDANTS
                                                                                                                22                                and ROES 81 THROUGH 100
                                                                                                                23 188. Plaintiffs incorporate paragraphs 1 through 187 of this Complaint as if fully set
                                                                                                                24 forth herein.
                                                                                                                25 189. Plaintiffs are informed and believe that the conduct of the named Defendants and
                                                                                                                26 ROES 81-100 (Collectively “IIED Defendants”) alleged in the preceding paragraphs is
                                                                                                                27 outside the parameters of the normal educational experience and constitutes outrageous
                                                                                                                28 conduct.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                      46
                                                                                                                                                            COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 47 of 63 Page ID #:47




                                                                                                                 1 190. Plaintiffs are informed and believe that the IIED Defendants owe the Softball Team
                                                                                                                 2 a duty of care to not engage in conduct that they knew, or with reasonable care should
                                                                                                                 3 have known, will cause the Softball Team extreme emotional distress.
                                                                                                                 4 191. Plaintiffs are informed and believe that the IIED Defendants knowingly and
                                                                                                                 5 intentionally breached said duty of care that they owed to DOES 1-24 by engaging in the
                                                                                                                 6 aforementioned conduct. By way of example, DOES 1-24 informed the IIED Defendants’
                                                                                                                 7 that their conduct, including, but not limited to falsely accusing the Softball Team of
                                                                                                                 8 engaging in “Blackface,” and publicly confirming to the entire CLU community that the
                                                                                                                 9 Softball team had engaged in such conduct, was causing them severe emotional distress.
                                                                                                                10 Yet, despite being so informed, the IIED Defendants persisted in publishing said false
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 information, and in an even more inflammatory manner.
                                                                                                                12 192. As stated above, Plaintiffs are informed and believe that the IIED Defendants’
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 conduct was a substantial factor in causing the Softball Team to suffer severe emotional
                                                                                                                14 distress and physical manifestations of that emotional distress.
                                                                                                                15 193. Plaintiffs are informed and believe that the IIED Defendants’ conduct was not
                                                                                                                16 privileged. As to this point, the IIED Defendants were legally obligated to not publicly
                                                                                                                17 discuss anything having to do with the subject incident, as doing so could constitute a
                                                                                                                18 FERPA violation regarding the potential disclosure of a student’s disciplinary record
                                                                                                                19 contained in a private and legally protected student file.
                                                                                                                20 194. The Softball Team’s damages include, but are not limited to, lost educational
                                                                                                                21 benefits, diminished future earning capacity, and loss of future employment
                                                                                                                22 opportunities. The Softball Team members have also suffered and continue to suffer
                                                                                                                23 depression, anxiety, loss of sleep, nausea, vomiting, shame, loss of appetite, humiliation,
                                                                                                                24 emotional distress, as well as pain and suffering.
                                                                                                                25 195. In performing the acts described herein, the IIED Defendants were guilty of gross
                                                                                                                26 negligence, oppression, fraud, and/or malice, in that the IIED Defendants engaged in such
                                                                                                                27 conduct with a willful and conscious disregard of Plaintiffs’ property rights. The Softball
                                                                                                                28 Team therefore seeks an award of damages, including punitive damages, in an amount to


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                       47
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 48 of 63 Page ID #:48




                                                                                                                 1 be proven at trial, but that is otherwise high enough to ensure that the IIED Defendants
                                                                                                                 2 will never engage in such conduct against their own students ever again.
                                                                                                                 3                               SIXTH CAUSE OF ACTION
                                                                                                                 4                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                                                                                                 5                      DOES 1 THOUGH 24 AGAINST ALL DEFENDANTS
                                                                                                                 6                              and ROES 101 THROUGH 120
                                                                                                                 7 196. Plaintiffs incorporate paragraphs 1 through 135 of this Complaint as if fully set
                                                                                                                 8 forth herein.
                                                                                                                 9 197. Plaintiffs are informed and believes that the conduct of the named Defendants and
                                                                                                                10 ROES 101-120 (Collectively “NIED Defendants”) alleged in the preceding paragraphs is
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 outside the parameters of the normal educational experience and constitutes outrageous
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 conduct.
                                                                                                                13 198. Plaintiffs are informed and believe that the NIED Defendants owe DOES 1-24 a
                                                                                                                14 duty of care to not engage in conduct that they know, or with reasonable care should have
                                                                                                                15 known, will cause the Softball Team extreme emotional distress.
                                                                                                                16 199. Plaintiffs are informed and believe that the NIED Defendants were negligent and
                                                                                                                17 breached said duty of care that they owed to the Softball Team by engaging in the
                                                                                                                18 aforementioned conduct, which, at a minimum, caused the Softball Team to suffer serious
                                                                                                                19 emotional distress.
                                                                                                                20 200. As stated above, Plaintiffs are informed and believe that the NIED Defendants’
                                                                                                                21 conduct was a substantial factor in causing the Softball Team to suffer severe emotional
                                                                                                                22 distress and physical manifestations of that emotional distress.
                                                                                                                23 201. Plaintiffs are informed and believe that the NIED Defendants’ conduct was a
                                                                                                                24 substantial factor in causing the Softball Team severe emotional distress.
                                                                                                                25 202. The Softball Team’s damages include, but are not limited to, lost educational
                                                                                                                26 benefits, future earning capacity and other future employment benefits. The Softball
                                                                                                                27 Team members have also suffered and continue to suffer depression, anxiety, nausea,
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     48
                                                                                                                                                           COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 49 of 63 Page ID #:49




                                                                                                                 1 vomiting, loss of sleep, depression, shame, loss of appetite, humiliation, emotional
                                                                                                                 2 distress, as well as pain and suffering.
                                                                                                                 3                              SEVENTH CAUSE OF ACTION
                                                                                                                 4                                        NEGLIGENCE
                                                                                                                 5                    DOES 1 THROUGH 24 AGAINST ALL DEFENDANTS
                                                                                                                 6                               and ROES 121 THROUGH 140
                                                                                                                 7 203. Plaintiffs incorporate paragraphs 1 through 135 of this Complaint as if fully set
                                                                                                                 8 forth herein.
                                                                                                                 9 204. Plaintiffs are informed and believe that the conduct of the named Defendants and
                                                                                                                10 ROES 121-140 (Collectively “Negligence Defendants”) alleged in the preceding
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 paragraphs is outside the parameters of the normal educational experience.
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 205. Plaintiffs are informed and believe that the Negligence Defendants owe DOES 1-
                                                                                                                13 24 various duties of care to act as a normal and prudent university, and to otherwise not
                                                                                                                14 engage in conduct that they know, or with reasonable care should know, will cause their
                                                                                                                15 students undue harm and severe emotional distress.
                                                                                                                16 206. Plaintiffs are informed and believe that the Negligence Defendants were negligent
                                                                                                                17 and breached said duties of care that they owed to the Softball Team by engaging in the
                                                                                                                18 aforementioned conduct, which, at a minimum, caused the Softball Team to suffer serious
                                                                                                                19 emotional distress.
                                                                                                                20 207. Plaintiffs are informed and believe that, as an actual and proximate cause of the
                                                                                                                21 conduct of the Negligence Defendants, the Softball Team has been damaged and suffered
                                                                                                                22 harm, including severe emotional distress and physical manifestations of that emotional
                                                                                                                23 distress, all in an amount to be proven at trial.
                                                                                                                24                               EIGHTH CAUSE OF ACTION
                                                                                                                25                                 VIOLATION OF TITLE IX
                                                                                                                26                        ALL PLAINTIFFS AGAINST DEFENDANT CLU
                                                                                                                27 208. Plaintiffs incorporate paragraphs 1 through 207 of this Complaint as if fully set
                                                                                                                28 forth herein.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        49
                                                                                                                                                              COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 50 of 63 Page ID #:50




                                                                                                                 1 209. Plaintiffs are informed and believe that, as stated above, Defendant CLU engaged
                                                                                                                 2 in disparate treatment between the CLU Women’s Softball Program and the CLU Men’s
                                                                                                                 3 Baseball program, in addition to other instances of unfair treatment when compared to
                                                                                                                 4 other CLU sports programs. Such disparate treatment included unequal access to facilities
                                                                                                                 5 and services, wherein CLU allowed money, equipment, services, and benefits to be
                                                                                                                 6 directed to the CLU Men’s Baseball program that it did not provide to the CLU Women’s
                                                                                                                 7 program. Further, there was no justifiable reason for said disparate treatment between the
                                                                                                                 8 two programs.
                                                                                                                 9 210. Plaintiffs are informed and believe that Coach Day reported issues of disparate
                                                                                                                10 treatment to CLU’s agents including, but not limited to: Kuntz, Defendant McHugh and
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 Defendant Kimball. These individuals were/are responsible employees who had the
                                                                                                                12 ability to respond to Coach Day’s report.
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 211. Plaintiffs are informed and believe that CLU acted with deliberate indifference in
                                                                                                                14 response to Coach Day’s reports. For example, CLU intentionally failed to include
                                                                                                                15 information about the disparity between the money, equipment, services, and benefits
                                                                                                                16 directed to the CLU Men’s Baseball program that were not provided to the CLU
                                                                                                                17 Women’s program when it hired a third-party investigator to determine if CLU had
                                                                                                                18 violated Title IX. CLU showed further deliberate indifference by predetermining the
                                                                                                                19 outcome of Coach Day’s complaint.
                                                                                                                20 212. Plaintiffs are informed and believe that CLU intentionally discriminated against
                                                                                                                21 Coach Day and the Softball Team based on their gender in general, and specifically in
                                                                                                                22 the manner in which it responded to Coach Day’s complaint.
                                                                                                                23 213. Plaintiffs are informed and believe that CLU presented to Coach Day and the
                                                                                                                24 Softball Team that CLU was following its policies, including providing a fair and neutral
                                                                                                                25 investigation into Coach Day’s report. However, in reality, CLU’s investigation process
                                                                                                                26 was nothing more than a charade intended to mislead Plaintiffs.
                                                                                                                27 214. Plaintiffs are informed and believe that Defendants came to an erroneous outcome
                                                                                                                28 regarding Coach Day’s NCAA complaint in December 2019. Just one month after CLU


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                      50
                                                                                                                                                           COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 51 of 63 Page ID #:51




                                                                                                                 1 predetermined the outcome of Coach Day’s potential Title IX violation, CLU and its
                                                                                                                 2 agents perpetuated a false “blackface” event, and otherwise completely mishandled said
                                                                                                                 3 event in part to retaliate against Coach Day for reporting the potential Title IX violation
                                                                                                                 4 in conjunction with other NCAA violations.
                                                                                                                 5 215. Plaintiffs are informed and believe that, as a result of CLU’s Title IX violations,
                                                                                                                 6 Coach Day suffered emotional distress, including but not limited to, emotional distress,
                                                                                                                 7 fear, anxiety, and trauma; lost past and future earnings and earning capacity; and delays
                                                                                                                 8 in pursuing her career.
                                                                                                                 9 216. Plaintiffs are informed and believe that as a result of CLU’s Title IX violations,
                                                                                                                10 DOES 1-24 suffered emotional distress, including but not limited to, emotional distress,
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 fear, anxiety, and trauma, shame; and delays in pursuing their education.
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 217. Plaintiffs are informed and believe that, unless restrained, CLU will continue to
                                                                                                                13 violate Title IX. As such, Plaintiffs have no adequate remedy at law, and hereby seek an
                                                                                                                14 injunction against CLU to cure its Title IX violations and ensure reasonable parody of
                                                                                                                15 the services, facilities, opportunities and benefits between the CLU Men’s Baseball
                                                                                                                16 program and the CLU Women’s Softball program.
                                                                                                                17                               NINTH CAUSE OF ACTION
                                                                                                                18                                      RETALIATION
                                                                                                                19        PLAINTIFF DAY AGAINST DEFENDANTS CLU, KIMBALL, MCCUGH
                                                                                                                20                              and ROES 141 THROUGH 160
                                                                                                                21 218. Plaintiffs incorporate paragraphs 1 through 217 of this Complaint as if fully set
                                                                                                                22 forth herein.
                                                                                                                23 219. Plaintiffs are informed and believe that, at all times material to this Complaint,
                                                                                                                24 California Labor Code §1102.5 was in effect and binding on Defendants, CLU, Kimball,
                                                                                                                25 McCugh and ROES 141-160 (Collectively “Retaliation Defendants”). This section
                                                                                                                26 requires Retaliation Defendants to refrain from retaliating against an employee for
                                                                                                                27 refusing to participate in an activity that she reasonably believes would result in a
                                                                                                                28 violation of a state or federal statute, or a violation or noncompliance with a state or


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     51
                                                                                                                                                           COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 52 of 63 Page ID #:52




                                                                                                                 1 federal rule or regulation. Labor Code §1102.5(b) also states that: “[a]n employer, or any
                                                                                                                 2 person acting on behalf of the employer, shall not retaliate against an employee for
                                                                                                                 3 disclosing information, or because the employer believes that the employee disclosed or
                                                                                                                 4 may disclose information, to a government or law enforcement agency…”
                                                                                                                 5 220. Plaintiffs are informed and believe that Coach Day has been a victim of retaliation
                                                                                                                 6 since questioning the potentially unlawful Title IX practices at CLU, in addition to other
                                                                                                                 7 NCAA violations. Retaliation Defendants were dismissive of Coach Day’s questioning
                                                                                                                 8 and ultimately publicly punished Coach Day by falsely accusing the Softball Team of
                                                                                                                 9 engaging in a “Blackface” incident, and thereby accusing Coach Day of mismanagement
                                                                                                                10 of her Softball program by allowing such a “Blackface” incident to occur, by placing
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 Coach Day on administrative leave after the incident, and then refusing to clear her name
                                                                                                                12 or employment file when it was ultimately determined that no such “Blackface” incident
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                13 occurred as promulgated by Defendant CLU. Thereafter, CLU excluded Coach Day from
                                                                                                                14 department meetings, and continues to this day to exclude Coach Day from said meetings.
                                                                                                                15 CLU’s conduct was in direct retaliation to Coach Day’s reports of potential NCAA and
                                                                                                                16 Title IX violations, all in violation of the law. Coach Day is informed and believes that
                                                                                                                17 she had a reasonable belief that Retaliation Defendants were violating state and federal
                                                                                                                18 laws, and questioned those violations to CLU, as Retaliation Defendants well knew, and
                                                                                                                19 as alleged hereinabove.
                                                                                                                20 221. Plaintiffs are informed and believe that Retaliation Defendants retaliated against
                                                                                                                21 Coach Day by harassing, and threatening to terminate her, among other things, all in
                                                                                                                22 violation of Labor Code § 1102.5.
                                                                                                                23 222. Plaintiffs are informed and believe that, following Coach Day’s questions
                                                                                                                24 regarding potential NCAA and Title IX violations, Retaliation Defendants engaged in
                                                                                                                25 conduct that, taken as a whole, materially and adversely affected the terms and conditions
                                                                                                                26 of Coach Day’s work environment. Coach Day’s questions were, in part, a motivating
                                                                                                                27 reason for Retaliation Defendants to fabricate a false narrative regarding the “Blackface”
                                                                                                                28 incident, and/or a motivating reason for the Retaliation Defendants to have handled the


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                      52
                                                                                                                                                           COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 53 of 63 Page ID #:53




                                                                                                                 1 “Blackface” in a more responsible and professional manner. The decision to retaliate
                                                                                                                 2 against Coach Day and to create a false narrative regarding the Softball Team was in
                                                                                                                 3 close nexus to Coach Day’s questioning of Retaliation Defendants’ potentially unlawful
                                                                                                                 4 practices.
                                                                                                                 5 223. Plaintiffs are informed and believe that, as stated above, said Defendants
                                                                                                                 6 encouraged — or did not discourage — CLU employees in their showing of defiance,
                                                                                                                 7 insubordination and a total lack of respect toward Coach Day.
                                                                                                                 8 224. Plaintiffs are informed and believe that, as a direct and proximate cause of
                                                                                                                 9 Retaliation Defendants’ retaliatory conduct identified herein, Coach Day was harmed.
                                                                                                                10 Retaliation Defendants’ conduct was a substantial factor in causing Coach Day’s harm.
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 225. As a direct and proximate result of said Retaliation Defendants’ willful, knowing,
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 and intentional retaliation against Coach Day, she has suffered and continues to suffer
                                                                                                                13 emotional distress, mental and physical pain, anguish, pain and suffering, loss of sleep,
                                                                                                                14 loss of appetite, and anxiety to her damage in a sum according to proof.
                                                                                                                15 226. In light of the willful, knowing, and intentional harassment, Coach Day seeks an
                                                                                                                16 award of punitive and exemplary damages in an amount according to proof at trial.
                                                                                                                17 227. Coach Day has incurred and continues to incur legal expenses and attorneys’ fees.
                                                                                                                18 Coach Day will seek the recovery of attorneys’ fees and costs at the conclusion of this
                                                                                                                19 lawsuit.
                                                                                                                20                              TENTH CAUSE OF ACTION
                                                                                                                21                            HOSTILE WORK ENVIRONMENT
                                                                                                                22      PLAINTIFFS DAY, YOUNG, AND GLUCKMAN AGAINST DEFENDANTS
                                                                                                                23        CLU, KIMBALL, DOHERTY, MCHUGH and ROES 161 THROUGH 170
                                                                                                                24 228. The allegations set forth in paragraphs 1 through 227 are realleged and
                                                                                                                25 incorporated by reference as though fully set forth herein.
                                                                                                                26 229. Plaintiffs are informed and believe that the above conduct was unwelcome and was
                                                                                                                27 directed towards Coaches Day, Young, and Gluckman based on their status as employees,
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     53
                                                                                                                                                           COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 54 of 63 Page ID #:54




                                                                                                                 1 and specifically as coaches of the CLU Softball Program. All the above conduct was part
                                                                                                                 2 of an ongoing and continuing pattern of conduct.
                                                                                                                 3 230. Hostile work environment is defined as inappropriate behavior in the workplace,
                                                                                                                 4 such as harassment based on race or ethnicity and/or retaliation for exercising a legal
                                                                                                                 5 right, that is either severe or pervasive enough to create an abusive work atmosphere for
                                                                                                                 6 one or more employees.
                                                                                                                 7 231. Plaintiffs are informed and believe that the aforementioned conduct (including
                                                                                                                 8 conduct directed at Coaches Day, Young, and Gluckman) caused Coaches Day, Young,
                                                                                                                 9 and Gluckman to perceive their work environment as intimidating, hostile, abusive or
                                                                                                                10 offensive and created a hostile work environment based on their perceived race and/or
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 ethnicity and/or in retaliation for exercising a lawful right.
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 232. Plaintiffs are informed and believe that complaints and/or information about much
                                                                                                                13 of the harassing conduct were made to Defendants CLU, Kimball, Doherty, McHugh,
                                                                                                                14 and Roes 161-170 (Collectively “Hostile Work Environment Defendants”). However,
                                                                                                                15 Hostile Work Environment Defendants failed to conduct a prompt, timely, and thorough
                                                                                                                16 investigation into the allegations. After the complaints, the harassment continued in
                                                                                                                17 similar forms and resulted in new forms of harassment and discrimination.
                                                                                                                18 233. Hostile Work Environment Defendants’ acts were malicious, oppressive or
                                                                                                                19 fraudulent with intent to vex, injure, annoy, humiliate and embarrass Coaches Day,
                                                                                                                20 Young, and Gluckman, and in conscious disregard of the rights or safety of Coaches Day,
                                                                                                                21 Young, and Gluckman and in furtherance of CLU’s ratification of the wrongful conduct
                                                                                                                22 of the administrators of CLU, including Defendants Kimball, Doherty, and McHugh.
                                                                                                                23 Accordingly, Coaches Day, Young, and Gluckman are entitled to recover punitive
                                                                                                                24 damages from Hostile Work Environment Defendants.
                                                                                                                25 234. By reason of the conduct of Hostile Work Environment Defendants’ and each of
                                                                                                                26 them as alleged herein, Coaches Day, Young, and Gluckman have necessarily retained
                                                                                                                27 attorneys to prosecute this action. Coaches Day, Young, and Gluckman are therefore
                                                                                                                28 entitled to reasonable attorney’s fees and litigation expenses, including expert witness


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                        54
                                                                                                                                                             COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 55 of 63 Page ID #:55




                                                                                                                 1 fees and costs incurred in bringing this action. By reason of the conduct of Hostile Work
                                                                                                                 2 Environment Defendants’ and each of them as alleged herein, Coaches Day, Young, and
                                                                                                                 3 Gluckman sustained economic damages to be proven at trial. As a further result of Hostile
                                                                                                                 4 Work Environment Defendants’ and each of their actions, Coaches Day, Young, and
                                                                                                                 5 Gluckman have suffered emotional distress, resulting in damages to be proven at trial.
                                                                                                                 6 235. The above harassing and discriminatory conduct violates FEHA, Government
                                                                                                                 7 Code §§ 12940 and 12941 and California Public Policy, and entitles Coaches Day,
                                                                                                                 8 Young, and Gluckman to all categories of damages, including exemplary or punitive
                                                                                                                 9 damages against Hostile Work Environment Defendants.
                                                                                                                10                            ELEVENTH CAUSE OF ACTION
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11                            CONSTRUCTIVE TERMINATION
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12        PLAINTIFFS YOUNG AND GLUCKMAN AGAINST DEFENDANT CLU
                                                                                                                13                              and ROES 171 THROUGH 180
                                                                                                                14 236. The allegations set forth in paragraphs 1 through 235 are realleged and
                                                                                                                15 incorporated by reference as though fully set forth herein.
                                                                                                                16 237. As a direct result of the aforementioned conduct, Coaches Young and Gluckman
                                                                                                                17 have left their employment at CLU due to the fact that they could no longer tolerate the
                                                                                                                18 abhorrent hostility and treatment they received from CLU, and as such, maintaining their
                                                                                                                19 employment at CLU had become untenable. As such, Coaches Young and Gluckman
                                                                                                                20 have been constructively terminated.
                                                                                                                21 238. Plaintiffs are informed and believe that Plaintiffs’ termination was substantially
                                                                                                                22 motivated by both protected complaints and refusal to accept the harassing treatment.
                                                                                                                23 Plaintiffs’ termination violates the public policies contained in the Fair Employment &
                                                                                                                24 Housing Act. Moreover, at all times mentioned in this complaint, Labor Code § 1102.5
                                                                                                                25 was in full force and effect and was binding on Defendant CLU and ROES 171-180
                                                                                                                26 (Collectively “Constructive Termination Defendants”). This law requires Constructive
                                                                                                                27 Termination Defendants to refrain from retaliating against employees who refuse to
                                                                                                                28 participate in or condone conduct they reasonably believe to violate state or federal law.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     55
                                                                                                                                                           COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 56 of 63 Page ID #:56




                                                                                                                 1 239. Plaintiffs are informed and believe that Coach Young and Coach Gluckman were
                                                                                                                 2 constructively terminated at the end of the 2020 Softball Season after being publicly
                                                                                                                 3 defamed, harassed, and embarrassed by CLU and its agents at the school, within the
                                                                                                                 4 community, and on a national level for an event that simply did not happen. As a further
                                                                                                                 5 point, Coach Young and Coach Gluckman were publicly placed on administrative leave
                                                                                                                 6 regarding said fabricated event, despite the fact that CLU was in possession of evidence
                                                                                                                 7 that no such event took place under said Coaches’ supervision. By way of example, and
                                                                                                                 8 not limitation, Coach Young and Coach Gluckman were placed on administrative leave
                                                                                                                 9 on or about February 8, 2020, which is the same day Defendant Kimball was recorded
                                                                                                                10 saying that the pictures of the Softball Team show that certain players had makeup on
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 their faces resembling male facial hair stubble, and that there was no racial intent to their
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 performances. Instead, CLU wrongfully placed Coach Young and Coach Gluckman on
                                                                                                                13 administrative leave for public relations purposes and attempted to make them patsies for
                                                                                                                14 the false narrative CLU was attempting to push regarding the “Blackface” incident.
                                                                                                                15 Remarkably, Plaintiffs are informed and believe that when the Constructive Termination
                                                                                                                16 Defendants put Coach Young on administrative leave to “investigate” said fabricated
                                                                                                                17 “Blackface” incident to further perpetuate their false narrative, CLU did not know that
                                                                                                                18 Coach Young is African-American, and that the Constructive Termination Defendants
                                                                                                                19 were in essence publicly accusing an African-American coach of producing and/or
                                                                                                                20 allowing racially disparaging “Blackface” performances by the Softball Team.
                                                                                                                21 240. Plaintiffs are informed and believe that Constructive Termination Defendants’
                                                                                                                22 potentially unlawful and/or unethical conduct, all as mentioned above, were each a
                                                                                                                23 proximate cause of their termination in violation of the law. But for Constructive
                                                                                                                24 Termination Defendants’ conduct, Coach Young and Coach Gluckman would more than
                                                                                                                25 likely still be working at CLU.
                                                                                                                26 241. At all times material hereto, Coach Young and Coach Gluckman have suffered and
                                                                                                                27 continue to suffer harm due to the discharge. Constructive Termination Defendants’
                                                                                                                28 wrongful termination is a substantial factor in causing such harm.         As a direct and


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                       56
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 57 of 63 Page ID #:57




                                                                                                                 1 proximate result of the constructive termination, Coach Young and Coach Gluckman
                                                                                                                 2 have sustained losses in earnings and other employment benefits.          As a direct and
                                                                                                                 3 proximate result of the constructive termination by Constructive Termination
                                                                                                                 4 Defendants, Coach Young and Coach Gluckman have suffered and continues to suffer
                                                                                                                 5 humiliation, emotional distress, mental and physical pain and anguish, pain and suffering,
                                                                                                                 6 loss of sleep, depression and shame.
                                                                                                                 7 242. In light of Constructive Termination Defendants’ constructive termination of
                                                                                                                 8 Coach Young and Coach Gluckman, said Plaintiffs also seek an award of punitive and
                                                                                                                 9 exemplary damages in an amount according to proof at trial.
                                                                                                                10                                TWELFTH CAUSE OF ACTION
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11                            PRIVATE ATTORNEY GENERAL ACTION
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12                   PLAINTIFF DEBBY DAY AGAINST DEFENDANT CLU
                                                                                                                13                                and ROES 181 THROUGH 190
                                                                                                                14 243. Plaintiffs incorporate paragraphs 1 through 242 of this Complaint as if fully set
                                                                                                                15 forth herein.
                                                                                                                16 244. Plaintiffs are informed and believe that CLU violated its recordkeeping obligations
                                                                                                                17 as to Coach Day and other employees by providing them with inaccurate and/or
                                                                                                                18 incomplete wage statements. Specifically, CLU failed to accurately specify the gross
                                                                                                                19 wages earned by Coach Day and other aggrieved employees by improperly recording
                                                                                                                20 donations to the university from pre-tax categories of the pay stubs, in violation of Labor
                                                                                                                21 Code § § 226 and 2802. Specifically, Coach Day alleges that the inaccurate recording of
                                                                                                                22 donations resulted in a false recordation of a “all deductions” and “net wages earned” in
                                                                                                                23 violation of Labor Code § 226. Plaintiffs are further informed and believe that Defendant
                                                                                                                24 CLU placed donations to the university in the pre-tax donation portion of Plaintiff and
                                                                                                                25 other employees’ pay stubs, in violation of the Labor Code and in violation of both state
                                                                                                                26 and federal tax mandates, all in violation of Labor Code § 2802.
                                                                                                                27 245. Coach Day, an aggrieved employee, hereby seeks recovery of civil penalties as
                                                                                                                28 prescribed by the Labor Code Private Attorneys General Act of 2004 on behalf of herself


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     57
                                                                                                                                                           COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 58 of 63 Page ID #:58




                                                                                                                 1 and other aggrieved employees against whom one or more of the violations of the Labor
                                                                                                                 2 Code were committed.
                                                                                                                 3 246. On or about August 3, 2020, Coach Day sent a certified letter to the Labor
                                                                                                                 4 Workforce and Development Agency (“LWDA”), Defendant CLU as prescribed by
                                                                                                                 5 Labor Code § 2699.3 regarding claims for penalties pursuant to Labor Code § 221-224,
                                                                                                                 6 226, 1102.5, and 2802. At least sixty-five (65) days have passed since the postmark date
                                                                                                                 7 of that notice and the LWDA has not indicated that it intends to investigate the alleged
                                                                                                                 8 violations.       Therefore, pursuant to Labor Code § 2699.3(a)(2)(A), Plaintiff may
                                                                                                                 9 commence a civil action.
                                                                                                                10 247. Plaintiff and other aggrieved employees are entitled to penalties for the herein
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 alleged violations, to be proven at the time of trial, allocated 75% to the LWDA and 25%
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 to the affected employees, subject to the following formula: a) $100.00 for the initial
                                                                                                                13 violation per employee per pay period; and b) $200.00 for each subsequent violation per
                                                                                                                14 employee per pay period.
                                                                                                                15 248. The remedies provided under PAGA are intended to be cumulative of other
                                                                                                                16 available remedies. Lab. Code § 2699(g)(1).
                                                                                                                17                            THIRTEENTH CAUSE OF ACTION
                                                                                                                18             VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17200
                                                                                                                19    ALL PLAINTIFFS AGAINST ALL DEFENDANTS AND ROES 191 THROUGH
                                                                                                                20                                            200
                                                                                                                21 249. Plaintiffs re-allege and incorporate herein by reference each and every allegation
                                                                                                                22 contained in the preceding paragraphs 1 through 248 of this Complaint as though fully
                                                                                                                23 set forth herein.
                                                                                                                24 250. Plaintiffs, on their behalf and on behalf of the general public, bring this claim
                                                                                                                25 pursuant to Business & Professions Code § 17200, et seq. The conduct of all Defendants
                                                                                                                26 and ROES 191 through 200 (Collectively “UCL Defendants”) as alleged in this
                                                                                                                27 Complaint has been and continues to be unfair, unlawful, and harmful to Plaintiffs and
                                                                                                                28 the general public.


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                     58
                                                                                                                                                           COMPLAINT
                                                                                                                      Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 59 of 63 Page ID #:59




                                                                                                                 1 251. Plaintiffs are “persons” within the meaning of Business & Professions Code §
                                                                                                                 2 17204, and therefore have standing to bring this cause of action for injunctive relief,
                                                                                                                 3 restitution, and other appropriate equitable relief.
                                                                                                                 4 252. Business & Profession Code §17200, et seq. prohibits unlawful and unfair business
                                                                                                                 5 practices.
                                                                                                                 6 253. Plaintiffs are informed and believe that, as stated above, the UCL Defendants have
                                                                                                                 7 violated statutes and public policies. Through the conduct alleged in this Complaint, the
                                                                                                                 8 UCL Defendants have acted contrary to these public policies, have defamed, harassed,
                                                                                                                 9 and retaliated against Plaintiffs, have engaged in unethical business practices, have not
                                                                                                                10 ensured a safe and non-violent educational experience and/or workplace for Plaintiffs and
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11 others, and have engaged in other unlawful and unfair business practices in violation of
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12 Business & Profession Code § 17200, et seq., depriving Plaintiffs of rights, benefits, and
                                                                                                                13 privileges guaranteed to all “persons” under the law.
                                                                                                                14 254. Plaintiffs are informed and believe that the UCL Defendants’ conduct, as alleged
                                                                                                                15 hereinabove, constitutes unfair competition, in violation of § 17200, et seq. of the
                                                                                                                16 Business & Professions Code.
                                                                                                                17 255. Plaintiffs are informed and believe that the UCL Defendants, by engaging in the
                                                                                                                18 conduct herein alleged, either knew or in the exercise of reasonable care should have
                                                                                                                19 known, that their conduct was unlawful. As such, it is a violation of § 17200, et seq. of
                                                                                                                20 the Business & Professions Code. As a proximate result of the above-mentioned acts of
                                                                                                                21 the UCL Defendants, Plaintiffs have lost money and/or property.
                                                                                                                22 256. Plaintiffs are informed and believe that there is no adequate remedy at law to
                                                                                                                23 address the UCL Defendants’ conduct. Unless restrained by this Court, the UCL
                                                                                                                24 Defendants will continue to engage in the unlawful conduct as alleged above. Pursuant
                                                                                                                25 to Business & Professions Code § 17200, et seq., this Court should make such orders or
                                                                                                                26 judgments as may be necessary to prevent the use or employment by the UCL
                                                                                                                27 Defendants, their agents or employees, of any unlawful or deceptive practice prohibited
                                                                                                                28 by the Business & Professions Code, including but not limited to disgorgement of profits.


                                                                                                                    Case No.: 8:21-cv-1286
                                                                                                                    File No.: 5.440.001                       59
                                                                                                                                                            COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 60 of 63 Page ID #:60




                                                                                                                1                                        PRAYER FOR RELIEF
                                                                                                                2     WHEREFORE, Plaintiffs pray for judgment as follows:
                                                                                                                3     FIRST CAUSE OF ACTION FOR BREACH OF CONTRACT:
                                                                                                                4             For general, incidental, and/or consequential damages in a sum to be proven at
                                                                                                                5               trial;
                                                                                                                6             For prejudgment interest at the legal rate of 10%;
                                                                                                                7             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                8             For such other and further relief as the Court deems appropriate.
                                                                                                                9     SECOND CAUSE OF ACTION FOR SLANDER:
                                                                                                                10             For general, special, incidental, and/or consequential damages in a sum to be
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11              proven at trial;
                                                                                                                      
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12              For punitive damages in an amount high enough to deter such conduct in the
                                                                                                                13              future;
                                                                                                                14             For injunctive relief;
                                                                                                                15             For prejudgment interest at the legal rate of 10%;
                                                                                                                16             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                17             For such other and further relief as the Court deems appropriate.
                                                                                                                18    THIRD CAUSE OF ACTION FOR LIBEL:
                                                                                                                19             For general, special, incidental, and/or consequential damages in a sum to be
                                                                                                                20              proven at trial;
                                                                                                                21             For punitive damages in an amount high enough to deter such conduct in the
                                                                                                                22              future;
                                                                                                                23             For injunctive relief;
                                                                                                                24             For prejudgment interest at the legal rate of 10%;
                                                                                                                25             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                26             For such other and further relief as the Court deems appropriate.
                                                                                                                27    FOURTH CAUSE OF ACTION FOR FALSE LIGHT:
                                                                                                                28             For general, special, incidental, and/or consequential damages in a sum to be


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        60
                                                                                                                                                              COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 61 of 63 Page ID #:61




                                                                                                                1               proven at trial;
                                                                                                                2              For punitive damages in an amount high enough to deter such conduct in the
                                                                                                                3               future;
                                                                                                                4              For injunctive relief;
                                                                                                                5              For prejudgment interest at the legal rate of 10%;
                                                                                                                6              For costs of suit incurred herein and as permitted by law; and,
                                                                                                                7              For such other and further relief as the Court deems appropriate.
                                                                                                                8 FIFTH          CAUSE OF ACTION FOR INTENTIONAL INFLICTION OF
                                                                                                                9 EMOTIONAL DISTRESS:
                                                                                                                10             For general, special, incidental, and/or consequential damages in a sum to be
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11              proven at trial;
                                                                                                                      
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12              For prejudgment interest at the legal rate of 10%;
                                                                                                                13             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                14             For such other and further relief as the Court deems appropriate.
                                                                                                                15    SIXTH        CAUSE      OF     ACTION      FOR     NEGLIGENT         INFLICTION    OF
                                                                                                                16    EMOTIONAL DISTRESS:
                                                                                                                17             For general, special, incidental, and/or consequential damages in a sum to be
                                                                                                                18              proven at trial;
                                                                                                                19             For prejudgment interest at the legal rate of 10%;
                                                                                                                20             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                21             For such other and further relief as the Court deems appropriate.
                                                                                                                22    SEVENTH CAUSE OF ACTION FOR NEGLIGENCE:
                                                                                                                23             For general, special, incidental, and/or consequential damages in a sum to be
                                                                                                                24              proven at trial;
                                                                                                                25             For prejudgment interest at the legal rate of 10%;
                                                                                                                26             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                27             For such other and further relief as the Court deems appropriate.
                                                                                                                28


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        61
                                                                                                                                                              COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 62 of 63 Page ID #:62




                                                                                                                1     EIGHTH CAUSE OF ACTION FOR VIOLATION OF TITLE IX:
                                                                                                                2              For general, special, incidental, and/or consequential damages in a sum to be
                                                                                                                3               proven at trial;
                                                                                                                4              For prejudgment interest at the legal rate of 10%;
                                                                                                                5              For costs of suit incurred herein and as permitted by law; and,
                                                                                                                6              For such other and further relief as the Court deems appropriate.
                                                                                                                7     NINTH CAUSE OF ACTION FOR RETALIATION:
                                                                                                                8              For general, special, incidental, and/or consequential damages in a sum to be
                                                                                                                9               proven at trial;
                                                                                                                10             For prejudgment interest at the legal rate of 10%;
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11             For punitive damages in an amount high enough to deter such conduct in the
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12              future;
                                                                                                                13             For attorneys’ fees;
                                                                                                                14             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                15             For such other and further relief as the Court deems appropriate.
                                                                                                                16 TENTH CAUSE OF ACTION FOR HOSTILE WORK ENVIRONMENT:
                                                                                                                17             For general, special, incidental, and/or consequential damages in a sum to be
                                                                                                                18              proven at trial;
                                                                                                                19             For punitive damages in an amount high enough to deter such conduct in the
                                                                                                                20              future;
                                                                                                                21             For attorneys’ fees;
                                                                                                                22             For prejudgment interest at the legal rate of 10%;
                                                                                                                23             For costs of suit incurred herein and as permitted by law; and,
                                                                                                                24             For such other and further relief as the Court deems appropriate.
                                                                                                                25    ELEVENTH CAUSE OF ACTION FOR CONSTRUCTIVE TERMINATION:
                                                                                                                26             For general, special, incidental, and/or consequential damages in a sum to be
                                                                                                                27              proven at trial;
                                                                                                                28             For prejudgment interest at the legal rate of 10%;


                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        62
                                                                                                                                                              COMPLAINT
                                                                                                                       Case 8:21-cv-01286 Document 1 Filed 07/29/21 Page 63 of 63 Page ID #:63




                                                                                                                1              For costs of suit incurred herein and as permitted by law; and,
                                                                                                                2              For such other and further relief as the Court deems appropriate.
                                                                                                                3     TWELFTH CAUSE OF ACTION FOR VIOLATION OF LABOR CODE § 2699:
                                                                                                                4              For penalties pursuant to Labor Code § 2699;
                                                                                                                5              For prejudgment interest at the legal rate of 10%;
                                                                                                                6              For reasonable attorneys’ fees and costs of suit incurred herein and as permitted
                                                                                                                7               by law; and,
                                                                                                                8              For such other and further relief as the Court deems appropriate.
                                                                                                                9     THIRTEENTH CAUSE OF ACTION FOR VIOLATION OF BUSINESS AND
                                                                                                                10    PROFESSIONS CODE § 17200:
Jacobson, Russell, Saltz, Nassim & de la Torre, LLP
                                                      1880 Century Park East, Suite 900 Los Angeles, CA 90067




                                                                                                                11             For injunctive relief;
                                                                                                                      
                                                             Tel.: 310.446.9900 • Fax: 310.446.9909




                                                                                                                12              For costs of suit incurred herein and as permitted by law; and
                                                                                                                13             For such other and further relief as the Court deems appropriate.
                                                                                                                14    Dated: July 29, 2021                    Jacobson, Russell, Saltz, Nassim & de la
                                                                                                                15                                            Torre, LLP
                                                                                                                16
                                                                                                                17
                                                                                                                18
                                                                                                                                                              Michael J. Saltz, Esq.
                                                                                                                19                                            Attorneys for Plaintiffs
                                                                                                                20
                                                                                                                                                    DEMAND FOR JURY TRIAL
                                                                                                                21
                                                                                                                22    Plaintiffs demand a jury trial of their claims to the extent authorized by law.
                                                                                                                23
                                                                                                                      Dated: July 29, 2021                    Jacobson, Russell, Saltz, Nassim & de la
                                                                                                                24
                                                                                                                                                              Torre, LLP
                                                                                                                25
                                                                                                                26
                                                                                                                27
                                                                                                                28
                                                                                                                                                              Michael J. Saltz, Esq.
                                                                                                                                                              Attorneys for Plaintiffs

                                                                                                                     Case No.: 8:21-cv-1286
                                                                                                                     File No.: 5.440.001                        63
                                                                                                                                                              COMPLAINT
